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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                           EASTERN DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA                                  )        Case No.: 24-mj-1395
                                                              )
                     v.                                       )        Filed Under Seal
                                                              )
    CERTAIN DOMAINS                                           )

                     AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

                I,                    being duly sworn, hereby declare as follows:

                                         INTRODUCTION

        1.      I make this affidavit in support of a warrant for the seizure of 32 internet domains

(the “SUBJECT DOMAINS”) that have been used by the Russian government and Russian

government-sponsored actors to engage in foreign malign influence campaigns colloquially

referred to as “Doppelganger,” in violation of U.S. money laundering and criminal trademark

laws. As set forth below, since at least 2022, under the direction and control of the Russian

Presidential Administration, and in particular Sergei Vladilenovich Kiriyenko (“KIRIYENKO”),

the Russian companies Social Design Agency (“SDA”), Structura National Technology

(“STRUCTURA”), ANO Dialog, have used, among others, the SUBJECT DOMAINS, which

include “cybersquatted” domains 1 impersonating legitimate news entities and unique media brands

created by Doppelganger, to covertly spread Russian government propaganda. As reflected in

SDA’s notes from strategy meetings with KIRIYENKO and other Presidential Administration

officials, SDA project proposals, and other SDA records obtained during the course of the

investigation, some of which are attached as exhibits hereto, these actors designed the content of


1
  Based on my training and experience, I know that cybersquatting is a method of registering a domain
intended to mimic another person or company’s domain. Cybersquatting is used to trick Internet users into
believing they are visiting the legitimate person or company’s website.

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such propaganda to, inter alia, reduce international support for Ukraine, bolster pro-Russian

policies and interests, and influence voters in the U.S. and foreign elections without identifying,

and in fact purposefully obfuscating, the Russian government or its agents as the source of the

content. Among the methods Doppelganger used to drive viewership to the cybersquatted and

unique media domains were the deployment of “influencers” worldwide, paid social media

advertisements (in some cases created using artificial intelligence tools), and the creation of fake

social media profiles posing as U.S. (or other non-Russian) citizens to post comments on social

media platforms with links to the cybersquatted domains, all of which attempted to trick viewers

into believing they were being directed to a legitimate news media outlet’s website.

       2.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I became a

Special Agent in January 2017 when I was assigned to the Philadelphia Division’s

Counterintelligence Squad. As part of the Counterintelligence Squad, my duties include, among

other things, the investigation of foreign malign influence, espionage, and foreign intelligence

activities against the United States. I have successfully completed the Counterintelligence

Operations Course offered by the FBI Counterintelligence Training Center, where I was exposed

to a variety of counterintelligence techniques, cases, and exercises. I have participated in the

execution of numerous search warrants involving electronic evidence, among other investigative

techniques.

       3.        As a federal agent, I am authorized to investigate violations of the laws of the

United States and to execute warrants issued under authority of the United States. I have attended

multiple training courses related to managing counterintelligence and espionage investigations. I

have also been involved in various types of electronic and physical surveillance, the execution of

search warrants, and interviews of crime victims, witnesses, and subjects. Where I assert that an



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event took place on a particular date or at a particular time, I am asserting that it took place on or

about the date or at or near the time asserted. Similarly, where I assert that an event took place a

certain number of times, I am asserting that the event took place approximately the number of

times asserted. Likewise, when I assert that a transaction involved a certain amount of money, I

am asserting that the transaction involved approximately that amount of money.

          4.      The facts in this affidavit come from my personal observations, my training and

experience, records seized pursuant to search warrants or obtained through legal process, and

information learned from other agents and witnesses. This affidavit is intended to show merely

that there is sufficient probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

          5.      As set forth below, there is probable cause to believe that the SUBJECT

DOMAINS, 2 see Attachments A-1 through A-9, are property involved in a transaction or attempted

transaction in violation of 18 U.S.C. § 1956(a)(2)(A) (international promotional money

laundering) and 1956(h) (conspiracy to commit same) and/or property used, or intended to be used,

in any manner or part to facilitate violations of § 2320(a)(1) (trafficking in counterfeit goods or

services) (collectively, the “SUBJECT OFFENSES”). In particular, the investigation has revealed

that the SUBJECT DOMAINS have been purchased from U.S. registries or registrars by

individuals abroad who are working under the direction and control of the Russian government,

and in particular KIRIYENKO, including Ilya Gambashidze (“GAMBASHIDZE”), SDA, Nikolai

Tupikin (“TUPIKIN”), and STRUCTURA, which have been sanctioned by the U.S. government

and designated as SDNs, along with ANO Dialog, TABAK, and others, to advance their interests

and the interests of the Russian government, thereby causing U.S. persons to unwittingly provide


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    References to the individual SUBJECT DOMAINS in this affidavit will be denoted by bolded text.

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goods and services to and for the benefit of one or more of the aforementioned SDNs, in violation

of the International Emergency Economic Powers Act (“IEEPA”). As noted above, the foreign

malign influence effort described herein and carried out by SDA, STRUCTURA, and ANO Dialog

is colloquially referred to as “Doppelganger.”

          6.      Because the SUBJECT DOMAINS represent property involved in a scheme to

violate U.S. money laundering laws, they are subject to seizure, and therefore subject to forfeiture

pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 982(a)(1).

          7.      In addition, as a secondary basis for seizure and forfeiture, a subset of the SUBJECT

DOMAINS represent property used, or intended to be used, to commit or facilitate the commission

of Trafficking in Counterfeit Goods or Services (e.g., trademark infringement), in violation of 18

U.S.C. § 2320, and therefore are subject to forfeiture pursuant to 18 U.S.C. § 2323(a)(1)(B) and

(b)(1).

          8.      The procedure by which the government will seize the SUBJECT DOMAINS is

described in Attachments A-1 through A-9 hereto and below.

                                   TECHNICAL INFORMATION

          9.      Based on my training and experience and information learned from others, I am

aware of the following:

          10.     Internet Protocol Address: An Internet Protocol (“IP”) address is a unique numeric

address used by computers on the Internet. An IP Address is a series of four numbers, each in the

range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to the Internet

must be assigned an IP address so that Internet traffic sent from and directed to that computer may

be directed properly from its source to its destination. An IP address acts much like a home or

business street address—it enables computers connected to the Internet to properly route traffic to



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each other. The assignment of IP addresses to computers connected to the Internet is controlled by

Internet Service Providers (“ISP”).

       11.     Domain Name: A domain name is a string of text that maps to an IP address and

serves as an easy-to-remember way for humans to identify devices on the Internet (e.g.,

“justice.gov”). Domain names are composed of one or more parts, or “labels,” delimited by

periods. When read right-to-left, the labels go from most general to most specific. The right-most

label is the “top-level domain” (“TLD”) (e.g., “.com” or “.gov”). To the left of the TLD is the

“second-level domain” (“SLD”), which is often thought of as the “name” of the domain. The SLD

may be preceded by a “third-level domain,” or “subdomain,” which often provides additional

information about various functions of a server or delimits areas under the same domain. For

example, in “www.justice.gov,” the TLD is “.gov,” the SLD is “justice,” and the subdomain is

“www,” which indicates that the domain points to a web server.

       12.     Domain Name System: The Domain Name System (“DNS”) is the way that Internet

domain names are located and translated into IP addresses. DNS functions as a phonebook for the

Internet, allowing users to find websites and other resources by their names while translating them

into the IP addresses that their computers need to locate them.

       13.     Domain Name Servers: Domain Name Servers (“DNS servers”) are devices or

programs that convert, or resolve, domain names into IP addresses when queried by web browsers

or other DNS “clients.”

       14.     Registrar: A registrar is a company that has been accredited by the Internet

Corporation for Assigned Names and Numbers (“ICANN”) or a national country code top-level

domain (such as .uk or .ca) to register and sell domain names. Registrars act as intermediaries




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between registries and registrants. Registrars typically maintain customer and billing information

about the registrants who used their domain name registration services.

       15.     Registry: A domain name registry is an organization that manages top-level

domains, including by setting usage rules and working with registrars to sell domain names to the

public. For example, the registry for the “.com” and “.net” top-level domains is VeriSign, Inc.,

which is headquartered at 12061 Bluemont Way, Reston, Virginia.

       16.     Registrant: A registrant is the person or entity that holds the right to use a specific

domain name sold by a registrar. Most registrars provide online interfaces that can be used by

registrants to administer their domain names, including to designate or change the IP address to

which their domain name resolves. For example, a registrant will typically “point” their domain

name to the IP address of the server where the registrant’s website is hosted.

       17.     Virtual Private Network: “VPN” means a virtual private network. A VPN extends

a private network across public networks like the Internet. It enables a host computer to send and

receive data across shared or public networks as if they were an integral part of a private network

with all the functionality, security, and management policies of the private network. This is done

by establishing a virtual point-to-point connection through the use of dedicated connections,

encryption, or a combination of the two. The VPN connection across the Internet is technically a

wide area network (“WAN”) link between the sites. From a user perspective, the extended network

resources are accessed in the same way as resources available from a private network-hence the

name “virtual private network.” The communication between two VPN endpoints is encrypted and

usually cannot be intercepted by law enforcement.

       18.     Virtual Private Server: “VPS” means a virtual private server. A VPS acts as an

isolated, virtual environment on a physical server operated by a provider. VPS hosting providers



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use virtualization technology to split a single physical machine into multiple private server

environments that share resources. Hosting companies maintain server computers connected to the

Internet. A server is a computer that provides services to other computers. Customers may use

those servers for various functions, depending on the services offered by the hosting company.

Some hosting companies offer simple cloud storage, which allows users to store files, much like

an external hard drive, and share or edit those files with other persons. Other hosting companies

allow users to operate and host websites on the Internet. Other hosting companies enable users to

operate a virtual private server, which allows the customer to run virtualized operating systems

from their computer over the Internet. Each VPS runs on a physical server but has its own self-

contained disk space, bandwidth, processor allocation, memory, and operating system. Multiple

VPS’s can run on one physical server. A hosting company can offer any combination of the above.

In the case of a VPS, each subscriber to a hosting company’s services has full administrative

control over the subscriber’s VPS, which enables the subscriber to choose to install software from

a menu the hosting company offers or store and run the subscriber’s own software.

       19.     Who.is: A “Who.is” search provides publicly available information as to which

entity is responsible for a particular IP address or domain name. A Who.is record for a particular

IP address or domain name will list a range of IP addresses that the particular IP address falls

within and the entity responsible for that IP address range and domain name. For example, a Who.is

record for the domain name XYZ.COM might list an IP address range of 12.345.67.0-12.345.67.99

and list Company ABC as the responsible entity. In this example, Company ABC would be

responsible for the domain name XYZ.COM and IP addresses 12.345.67.0-12.345.67.99.




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                 INTERNATIONAL MONEY LAUNDERING AND IEEPA

       20.     Title 18, United States Code, Section 1956(a)(2)(A) (international promotional

money laundering) prohibits, in relevant part, the transportation, transmission, or transfer of funds

or monetary instruments from or through a place outside of the United States to a place within the

United States, with the intent to promote the carrying on of specified unlawful activity. Pursuant

to 18 U.S.C. § 1956(c)(7)(D), specified unlawful activity includes violations of IEEPA, which is

codified at 50 U.S.C. § 1701 et seq. In addition, any person who “conspires to commit any offense

defined in [Section 1956]” shall also be subject to criminal prosecution. See 18 U.S.C. § 1956(h).

                                              IEEPA

       21.     IEEPA authorizes the President of the United States to impose economic sanctions

in response to an unusual and extraordinary threat to the national security, foreign policy, or

economy of the United States. Pursuant to that authority, the President may declare a national

emergency through an Executive Order to deal with that threat.

       22.     IEEPA makes it a crime to willfully violate, attempt to violate, conspire to violate,

or cause a violation of any order, license, regulation, or prohibition issued pursuant to IEEPA. 50

U.S.C. § 1705(a), (c).

       23.     In 2014, pursuant to his authorities under IEEPA, the President issued Executive

Order 13660, which declared a national emergency with respect to the situation in Ukraine. To

address this national emergency, the President blocked all property and interest in property that

were then or thereafter came within the United States or the possession or control of any United

States person, of individuals determined by the Secretary of the Treasury to meet one or more

enumerated criteria. These criteria include, but are not limited to, individuals determined to be

responsible for or complicit in, or who engage in, actions or policies that threaten the peace,



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security, stability, sovereignty, or territorial integrity of Ukraine; or who materially assist, sponsor,

or provide financial, material, or technological support for, or goods or services to individuals or

entities engaging in such activities. Executive Order 13660 prohibits, among other things,

transferring, paying, exporting, withdrawing, or otherwise dealing in any interest in property in

the United States owned by a person whose property and interests in property are blocked (a

“blocked person”), as well as the making of any contribution or provision of funds, goods, or

services by a United States person, to, or for the benefit of a blocked person, and the receipt of any

contribution or provision of funds, goods, or services by a United States person from any such

blocked person.

        24.     The President on multiple occasions has expanded the scope of the national

emergency declared in Executive Order 13660, including through: (1) Executive Order 13661,

issued on March 16, 2014, which addresses the actions and policies of the Russian Federation with

respect to Ukraine, including the deployment of Russian Federation military forces in the Crimea

region of Ukraine; and (2) Executive Order 13662, issued on March 20, 2014, which addresses the

actions and policies of the Government of the Russian Federation, including its purported

annexation of Crimea and its use of force in Ukraine. Executive Orders 13660, 13661, and 13662

are collectively referred to as the “Ukraine-Related Executive Orders.” On February 21, 2022, the

President again expanded the scope of the national emergency, finding that the Russian

Federation’s purported recognition of the so-called Donetsk People’s Republic and Luhansk

People’s Republic regions of Ukraine contradicts Russia’s commitments under the Minsk

agreements and threatens the peace, stability, sovereignty, and territorial integrity of Ukraine.

        25.     The Ukraine-Related Executive Orders authorized the Secretary of the Treasury to

take such actions, including the promulgation of rules and regulations, and to employ all powers



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granted to the President under IEEPA, as may be necessary to carry out the purposes of those

orders. The Ukraine-Related Executive Orders further authorized the Secretary of the Treasury to

redelegate any of these functions to other offices and agencies of the United States Government.

       26.     To implement the Ukraine-Related Executive Orders, the U.S. Department of the

Treasury's Office of Foreign Assets Control (“OFAC”) issued certain Ukraine-Related Sanctions

Regulations. These regulations incorporate by reference the prohibited transactions set forth in the

Ukraine-Related Executive Orders. See 31 C.F.R. § 589.201. The regulations also provide that the

names of persons designated directly by the Ukraine-Related Executive Orders, or by OFAC

pursuant to the Ukraine-Related Executive Orders, whose property and interests are therefore

blocked, are published in the Federal Register and incorporated into the SDNs and Blocked

Persons List (the “SDN List”), which is published on OFAC’s website. Id. at note 2.

       27.     Among other things, E.O. 13661 prohibits United States persons from transferring,

paying, exporting, withdrawing, or otherwise dealing in the property or interests in property of a

designated person identified on the SDN List. E.O. 13661 § 1. These prohibitions include the

making of any contribution or provision of funds, goods, or services by, to, or for the benefit of, a

designated person identified on the SDN List. E.O. 13661 § 4. Any transaction that evades or

avoids, or has the purpose of evading or avoiding, or causes a violation of E.O. 13661 is further

prohibited. Id. § 5. “United States person” is defined as a United States citizen, permanent resident

alien, entity organized under the law of the United State or any jurisdiction within the United States

(including foreign branches), or any person in the United States. 31 C.F.R. § 6(c).

       28.     On March 2, 2021, OFAC announced sanctions designating seven Russian

government officials, including First Deputy Chief of Staff of the Presidential Executive Office

Sergei KIRIYENKO, pursuant to E.O. 13661 for serving as officials of the Russian government.



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In so doing, OFAC noted that KIRIYENKO “is reported to be President Putin’s ‘domestic policy

curator.’”

       29.     On April 15, 2021, pursuant to his authorities under IEEPA, the President issued

E.O.14024, which declared a national emergency with respect to:

       [H]armful foreign activities of the Government of the Russian Federation—in
       particular, efforts to undermine the conduct of free and fair democratic elections
       and democratic institutions in the United States and its allies and partners; to engage
       in and facilitate malicious cyber-enabled activities against the United States and its
       allies and partners; to foster and use transnational corruption to influence foreign
       governments; to pursue extraterritorial activities targeting dissidents or journalists;
       to undermine security in countries and regions important to United States national
       security; and to violate well-established principles of international law, including
       respect for the territorial integrity of states—constitute an unusual and
       extraordinary threat to the national security, foreign policy, and economy of the
       United States.

Similar to the Ukraine-Related Executive Orders, E.O. 14024 blocked the property and interests

in property of persons determined by the Secretary of the Treasury or the Secretary of State to

meet one or more enumerated criteria and prohibited, among other things, the provision of funds,

goods, or services by, to or for the benefit of such a designated person. To implement E.O. 14024,

OFAC issued the “Russian Harmful Foreign Activities Sanctions Regulations,” 31 C.F.R. Part

587. Persons designated pursuant to E.O. 14024 are identified on the SDN List. Id. at note 1.

       30.     On February 22, 2022, OFAC announced additional sanctions against

KIRIYENKO pursuant to E.O. 14024. With respect to KIRIYENKO, OFAC again described

KIRIYENKO as “the First Deputy Chief of Staff of the Presidential Office” and reportedly “Putin’s

domestic policy curator.” OFAC noted KIRIYENKO had previously “served as the Prime Minister

of the Russian Federation and as the General Director of Rosatom State Atomic Energy

Corporation” and had been previously designated pursuant to E.O. 13661 in March 2021. Pursuant

to E.O. 14024, OFAC redesignated KIRIYENKO for being or having been a leader, official, senior

executive officer, or member of the board of directors of the Russian government.

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       31.     On March 20, 2024, OFAC designated GAMBASHIDZE and TUPIKIN, as well as

SDA and STRUCTURA, pursuant to Executive Order 14024 for “being or having been a leader,

official, senior executive officer, or member of the board of directors of SDA and Structura” and

“for being owned or controlled by, or having acted or purported to act for or on behalf of, directly

or indirectly” for the Russian government. In announcing the sanctions, the Treasury Department

stated, “We are committed to exposing Russia’s extensive campaigns of government-directed

deception, which are intended to mislead voters and undermine trust in democratic institutions in

the United States and around the world.” OFAC explained that GAMBASHIDZE, TUPIKIN,

SDA, and STRUCTURA:

       [W]ere involved in a persistent foreign malign influence campaign at the direction
       of the Russian Presidential Administration. SDA and Structura have been identified
       as key actors of the campaign, responsible for providing GoR with a variety of
       services, including the creation of websites designed to impersonate government
       organizations and legitimate media outlets in Europe.

       Leading into Fall 2022, Tupikin and Gambashidze implemented a campaign that
       impersonated news websites, staged videos, and fake social media accounts.
       Specifically, Tupikin and Gambashidze, via SDA and Structura, have implemented,
       on behalf of GoR, a sprawling network of over 60 websites that impersonated
       legitimate news organizations, and which used misleading social media accounts to
       amplify the content of the spoofed websites. The fake websites appeared to have
       been built to carefully mimic the appearance of legitimate news websites. The fake
       websites included embedded images and working links to legitimate sites and even
       used the impersonated site’s cookie acceptance page.

       32.     SDA and STRUCTURA, both of which were founded by GAMBASHIDZE, are

Russian companies headquartered at adjacent buildings in Moscow. SDA is a public relations

company, specializing in election campaigns, with deep ties to the Russian government. SDA’s

website notes the work it has done for the Russian Duma, the Russian Ministry of Internal Affairs,

as well as multiple other Russian government entities. According to its website, STRUCTURA is

a technology company with experience using bots, offering website design, and coordinating



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information systems among other services. STRUCTURA’s website also highlights the work it has

done for the Russian government and lists the same Russian government clients as SDA.

        33.     According to OFAC records, at no time has KIRIYENKO, GAMBASHIDZE, 3

SDA, TUPIKIN, or STRUCTURA, or any of the individuals or entities described below, including

individuals known to have worked at their direction, obtained a license or other written

authorization to purchase, renew, transfer, use, or export the SUBJECT DOMAINS.

                          TRAFFICKING IN COUNTERFEIT GOODS

        34.     Title 18, United States Code Section 2320(a)(1) (trafficking in counterfeit goods or

services), prohibits intentionally “traffic[king] in goods or services and knowingly us[ing] a

counterfeit mark on or in connection with such goods or services.” “Counterfeit mark” is defined

to mean “a spurious mark—(i) that is used in connection with trafficking in any goods, services,

of any type or nature; (ii) that is identical with, or substantially indistinguishable from, a mark

registered on the principal register in the United States Patent and Trademark Office and in use,

whether or not the defendant knew such mark was so registered; (iii) that is applied to or used in

connection with the goods or services for which the mark is registered with the United States Patent

and Trademark Office . . .; and (iv) the use of which is likely to cause confusion, to cause mistake,

or to deceive[.]” 18 U.S.C. § 2320(f)(1)(A). “Traffic” means “to transport, transfer, or otherwise

dispose of, to another, for purposes of commercial advantage or private financial gain, or to make,

import, export, obtain control of, or possess, with intent to so transport, transfer, or otherwise

dispose of[.]” 18 U.S.C. § 2320(f)(5). “Financial gain” is in turn defined broadly to include “the


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  On March 20, 2024, Special Agents of the FBI interviewed a member of GAMBASHIDZE’s family who
is a U.S. citizen and alerted the family member to the sanctions. In a follow up interview on April 3, 2024,
the family member confirmed they had spoken with GAMBASHIDZE regarding the sanctions after their
interview with the FBI. The family member confirmed GAMBASHIDZE was aware of the sanctions and
that GAMBASHIDZE claimed “what they say about me is not completely true.”

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receipt, or expected receipt, of anything of value.” 18 U.S.C. § 2320(f)(2). Anyone who commits

an offense under this provision is subject to criminal prosecution. 18 U.S.C. § 2320(b)(1).

           35.     According to the United States Patent and Trademark Office (“USPTO”), a

trademark can be any word, phrase, symbol, design, or a combination of these things that identifies

goods or services. The word “trademark” can refer to both trademarks and service marks. A

trademark is used for goods, while a service mark is used for services. Trademark owners can

register their trademarks with the USPTO, which maintains a database of registered and pending

trademarks that is available to the public to search. That database includes the date the trademark

owner applied for trademark registration, the date the trademark registered, and examples of the

trademark.

                                        PROBABLE CAUSE

    A. Overview of the Russian-Government-Directed Doppelganger Operation

           36.     As set forth below, since at least 2022, under the direction and control of the

Russian Presidential Administration, and in particular KIRIYENKO, Russian companies,

including SDA led by GAMBASHIDZE, STRUCTURA led by TUPIKIN, and ANO Dialog led

by TABAK, have used the SUBJECT DOMAINS to engage in foreign malign influence campaigns

(which, as noted above, are colloquially referred to as “Doppelganger”) designed to reduce

international support for Ukraine, bolster pro-Russian policies, and influence voters in U.S. and

foreign elections by posing as citizens of those countries, impersonating legitimate news outlets,

and peddling Russian government propaganda under the guise of independent media brands.

           37.     In general, Doppelganger, which is under the direction and control of the Russian

government, and specifically KIRIYENKO, consists of two related foreign malign influence

efforts.



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       38.     The first component of the Doppelganger campaign carried out by STRUCTURA

and SDA, acting under KIRIYENKO’s direction and control, involves the creation of fake

websites that mimic legitimate media outlets. Doppelganger places content on those spoofed

websites that promote specific narratives identified by the Russian government to further the

Russian government’s objectives, such as influencing the U.S. electorate by targeting specific

audiences within the United States and elsewhere. To evade detection, Doppelganger created

sophisticated cybersquatted domains (which include the SUBJECT DOMAINS) that appear to be

the websites of legitimate news outlets such as Fox News, The Washington Post, and Forward,

among others. In general, the cybersquatted domains appear virtually identical to their legitimate

media counterparts, including through the use of the same layout and design, as well as the same

trademarks, logos, and slogans, and through attributing the false articles found on the

cybersquatted domain to real journalists for the legitimate outlet, with the journalists’ names,

photographs, and bylines featured on the domain. In addition, links to other content on the

SUBJECT DOMAINS re-route the reader to the legitimate news outlet. However, the content

published on the cybersquatted domains is not the legitimate journalistic work of the impersonated

media outlet and impersonated journalists; rather, the cybersquatted domains publish fake news

articles that promote Russian interests without identifying, and in fact purposefully obfuscating,

the Russian government or its agents as the source of the content.

       39.     For example, from within the Eastern District of Pennsylvania, FBI agents located

and    reviewed 4    six   articles   published    on    Doppelganger’s      cybersquatted     domain


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  The FBI used the WayBack Machine to locate articles published on the cybersquatted domains. The
Wayback Machine is a digital archive of the World Wide Web founded by the Internet Archive, an
American nonprofit organization, that allows the user to go “back in time” to see how websites looked in
the past. See EVO Brands, LLC v. Al Khalifa Group LLC, 657 F. Supp. 3d 1312, 1322-23 (C.D. Cal. 2023)
(collecting cases and noting that “[c]ourts have taken judicial notice of internet archives in the past,


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washingtonpost[.]pm. Washingtonpost[.]pm is a nearly identical duplication of the legitimate

Washington Post website. All links on washingtonpost[.]pm such as the website navigation menu,

the Washington Post icon, and the byline, re-route the reader to the legitimate washingtonpost.com

website. Washingtonpost[.]pm also features trademarks registered to The Washington Post. The

articles published on the washingtonpost[.]pm are published under the name of a legitimate

Washington Post journalist and feature his/her photograph. Based on my training, experience, and

this investigation, I believe this duplication is likely to mislead or confuse U.S. persons and other

readers into believing that the Russian propaganda presented in the article is from a legitimate

U.S.-based news organization. A search for the articles located on washingtonpost[.]pm or

substantially similar content on washingtonpost.com yielded negative results, as did a review of

the legitimate Washington Post journalist’s published articles on washingtonpost.com.

       40.     The articles located on washingtonpost[.]pm present a pro-Russia and anti-

Ukrainian viewpoint, and many of the articles focused on U.S. policy or politics. None of the

articles include attribution to SDA, STRUCTURA or the Russian government. For example, one

article is titled “White House Miscalculated: Conflict with Ukraine Strengthens Russia” and

purports to be authored by a Washington Post reporter. The article states, in part:

       It is time for our leaders to recognize that continued support for Ukraine is a
       mistake. It was a waste of lives and money, and to claim otherwise only means
       further destruction. For the sake of everyone involved in the conflict, the Biden
       administration should just make a peace agreement and move on.

See Exhibit 1 for illustrative examples of the cybersquatted domains.

       41.     To distribute their propaganda without attribution to the Russian government,

Doppelganger created social media profiles posing as U.S. (or other non-Russian) citizens. These



including Archive.org’s ‘Wayback Machine,’ finding that Archive.org possesses sufficient indicia of
accuracy that it can be used to readily determine the various historical versions of a website”).

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profiles then posted comments on social media platforms with links to the cybersquatted domains

to trick viewers into believing they were visiting a legitimate news outlet.

       42.     The cybersquatted domains used by Doppelganger generally are not indexed by

search engines. A visit to the standalone domain, such as www.washingtonpost[.]pm, reveals a

blank page or an error page. Rather, as its primary method of distribution, Doppelganger created

fraudulent social media personas impersonating U.S. citizens to post article-specific extended

hyperlinks to the cybersquatted domains on those social media platforms. 5 To further disseminate

their propaganda beyond social media posts, Doppelganger also purchased and placed

advertisements on social media platforms to drive traffic to their articles. Based on my training

and experience, I believe Doppelganger distributes its propaganda in this manner in order to

obscure from Americans and other targeted readers the fact that they are not visiting a legitimate

news outlet.

       43.     The second component of the Doppelganger campaign, carried out by ANO Dialog

and TABAK, acting under KIRIYENKO’s direction and control, focused on creating original

brands (which include the SUBJECT DOMAINS) to disseminate Russian propaganda. These

brands purport to be independent journalists or independent news media organizations but actually

published content under the direction and control of the Russian government. As discussed below,

the same articles would appear on both the cybersquatted domains and the ANO Dialog media

brands, which indicates to me that ANO Dialog and SDA/STRUCTURA acted in close

coordination under the direction and control of the Russian government and KIRIYENKO.




5
  For example, while a visit to www.foxnews.cx would reveal a blank or error page, a visit to
www.foxnews.cx/world/US-Decided-to-Trade-Ukraine-for-Security.html would reveal the active
cybersquatted website with an article and the re-routing links to the legitimate Fox News.

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       44.     As detailed below, individuals associated with Doppelganger—who are believed to

be based in Russia or elsewhere outside the United States—have transferred funds from outside

the United States to lease most of the SUBJECT DOMAINS from United States-based domain

registrars or registries at the direction and control of, and for the benefit of, sanctioned persons,

including KIRIYENKO, GAMBASHIDZE, SDA, TUPIKIN, and STRUCTURA. These criminal

actors did not obtain an OFAC license before leasing the SUBJECT DOMAINS. Because they

have transferred funds from or through a place outside the United States to a place within the

United States, with the intent to promote a specified unlawful activity (here, an IEEPA violation),

there is probable cause to believe they have violated U.S. money laundering laws. In addition, the

conspirators took steps to make each of the SUBJECT DOMAINS available on the Internet,

including in the Eastern District of Pennsylvania. As set forth below, the conspirators specifically

targeted the Commonwealth of Pennsylvania’s citizens, including those located in the Eastern

District of Pennsylvania, in order to influence the electorate in this, and other districts.

       45.     In addition, and as detailed further below, there is probable cause to believe that a

subset of the SUBJECT DOMAINS is being used or is intended to be used to commit or facilitate

trafficking in counterfeit goods or services. These SUBJECT DOMAINS feature registered

marks—The Washington Post logo, for example—that are identical to, or substantially

indistinguishable from, marks registered on the Principal Register maintained by the USPTO and

that are in use by the mark holder. The SUBJECT DOMAINS use these marks in connection with

goods or services that are the same as those for which they are registered on the Principal Register

and the SUBJECT DOMAINS’ use of the marks is likely to cause confusion, mistake, or to deceive

the public. As set forth below, the infringing SUBJECT DOMAINS were accessed from the




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Eastern District of Pennsylvania and thus the infringing goods passed through Eastern District of

Pennsylvania.

          B. Public Reporting on Doppelganger

             46.     In July 2023, the European Union (“EU”) sanctioned seven Russian individuals and

five Russian entities for their role in Doppelganger. Among the entities and individuals sanctioned

by the EU were SDA, STRUCTURA, GAMBASHIDZE, and ANO Dialog. In so doing, the EU

explained:

             Russian actors have conducted a digital information manipulation campaign named
             ‘RRN’ (Recent Reliable News) aiming at manipulating information and
             disseminating propaganda in support of Russia’s war of aggression against Ukraine.
             That campaign, in which government bodies or bodies affiliated to the Russian
             State have participated, relies on fake web pages usurping the identity of national
             media outlets and government websites as well as fake accounts on social media. 6

STRUCTURA and SDA were identified as “the key actor[s] of the campaign, responsible for the

creation of fake websites impersonating government organizations and legitimate media in Europe

(primarily Germany, France, Italy, Ukraine and the United Kingdom) and for boosting the pro-

Russian ‘RRN’ campaign on social media.” 7

             47.     On July 19, 2023, the Viginum Agency (“VIGINUM”), a French government

agency tasked with vigilance and protection against foreign digital interference, which operates

under the authority of the Secretariat-General for National Defense and Security, highlighted

Doppelganger’s creation and operation of cybersquatted domains:

             Since February 2023, VIGINUM has noticed an increasing number of impersonations of
             major French and foreign media outlets, in order to publish pro-Russian articles linked to
             the war in Ukraine. . .
             The appearance of typosquatted websites is in every way similar to that of the media outlets
             they are impersonating, the only difference being the visited URL. The domain names of

6
  Regulations, Official Journal of the European Union, L 190, Vol. 66 (28 July 2023) available at
https://eur-lex.europa.eu/legal-content/EN/TXT/PDF/?uri=OJ:L:2023:190I:FULL.
7
    Id.

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        typosquatted media outlets use the same source code as that of legitimate media outlets:
        most of the links on the legitimate website are downloaded on the typosquatted website,
        which lends it credibility in the eyes of unsuspecting users.

        48.     VIGINUM also highlighted Doppelganger’s use of Facebook pages and

advertisements to disseminate disinformation. According to VIGINUM, “Since February 2023,

more than 160 Facebook pages have been identified by VIGINUM, posting more than 600

sponsored content containing links to articles and websites linked to the campaign.” As described

below, the investigation has revealed that Doppelganger purchased numerous social media

advertisements targeting U.S. politicians and relied on artificial intelligence to generate the

content.

    C. The Russian Presidential Administration, through KIRIYENKO, Exercises Direction
       and Control Over Doppelganger

        49.     GAMBASHIDZE took extensive notes documenting meetings between

KIRIYENKO, SDA, STRUCTURA, TUPIKIN, ANO Dialog, members of the Russian

government like Sofia Zakharova (“Zakharova”), and others involved in Doppelganger.

GAMBASHIDZE’s notes include contact lists, staff lists, task or to-do lists, and potential ideas for

malign foreign influence campaigns. Between April 2022 and April 2023, GAMBASHIDZE took

notes related to at least 20 Russian Presidential Administration meetings.

        50.     For example, one note was titled “Meeting with SVK at the AP” 8 and dated April

16, 2022. I assess that AP is an abbreviation for Administratsiya Prezidenta, which translates from

Russian to English as the Presidential Administration. Based on the context and content of the

meeting notes, other records obtained during this investigation, and the supervisory role that SVK


8
  Virtually all records discussed herein were in the Russian language. Throughout this affidavit, italicized
quoted language indicates a verbatim translation, whereas plaintext quoted language indicates a summary
translation. Exhibits 2B through 13B to this affidavit have been translated verbatim. All translations were
completed by FBI linguists.

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appears to play in the Doppelganger campaign, I assess that SVK is a reference to Sergei

Vladilenovich KIRIYENKO. As noted above, KIRIYENKO has been sanctioned and described

by OFAC as “the First Deputy Chief of Staff of the Presidential Office” and reportedly “Putin’s

domestic policy curator.” KIRIYENKO is frequently referred to in Russian and Western media as

“Putin’s right-hand man.” In addition, the notes refer to Russian President Vladimir Putin and

reveal that SVK, who is also referred to as Sergey in the notes, is overseeing and directing the

malign foreign influence efforts described herein.

       51.     That note from April 16, 2022 details a meeting led by SVK at which “SVK was

taking detailed notes” to discuss bolstering support for Russia’s invasion of Ukraine. The meeting

participants discussed topics for propaganda, and SVK provided his opinion, with

GAMBASHIDZE recording SVK’s response to the ideas as “well received”, “need to work”, or

“the right thing to do.” SVK told the group they must use two mechanisms “to be effective: 1.

Creating of a nuclear psychosis. The USA have been prepping Europe for a big war with the

Russian Federation. War for peace. 2. Exaggeration.” While GAMBASHIDZE’s note contains

passing references to other meeting participants, the most substantive details recorded were when

SVK provided his opinion or instructions. This note also makes reference to “Tabak.” I assess that

the “Tabak” referenced in GAMBASHIDZE’s notes is Vladimir TABAK, the head of ANO Dialog.

       52.     On July 13, 2022, GAMBASHIDZE wrote a note titled “Minutes of the Meeting at

the AP on July 13, 2022.” The note listed meeting participants as “Stas, Sofia, Ilya, and Sergey.” I

assess that the Sofia referenced is likely Sofia Zakharova, a Russian Presidential Administration

spokesperson. Zakharova is a Kremlin official who has also focused on information technology

and communications infrastructure. Zakharova has regularly taken part in conferences and events




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dedicated to artificial intelligence. 9 Based on my training, experience, and information gathered

through this investigation, I assess that the Ilya referenced is Ilya GAMBASHIDZE and that the

Sergey referenced is KIRIYENKO. GAMBASHIDZE’s note identifies KIRIYENKO, as “SVK”,

telling the meeting participants, “it’s an impossible task,” which I assess to be a reference to the

difficulties in effectuating the Doppelganger campaign. GAMBASHIDZE notes that the

participants had “initially talked him into five countries. Now he says no.” Based on the context of

the note and this investigation, I assess that “him” and “he” refers to KIRIYENKO.

GAMBASHIDZE records that the group agreed “the Germans are more dependent than the

French” and decided to focus its efforts on the Germans. In particular, the group agreed that “first

and foremost, we need to discredit the USA, Great Britain and NATO, and secondly, we need to

convey the truth about the war in Ukraine” and the need to convince Germans to oppose the

“inefficient politics of sanctions.”

        53.     According to the note, the participants used the remainder of the meeting to discuss

anti-Ukrainian, pro-Russian narratives to distribute, with a focus on Germany. GAMBASHIDZE

noted “They were assigned Russian Reliable News – changed it into Recent, it’s going to work.(was

sent by Tabak).”

        54.     GAMBASHIDZE referenced SVK in six other notes in addition to the two

described above. According to a note titled “Meeting Minutes AP_25.07.22 – 11.00” SVK and

others again discussed targeting Germany. SVK suggested “in order to normalize relations, it is

necessary to show who caused them to deteriorate,” and directed the meeting participants to

influence German-Russian relations. The notes indicate that Sofia, whom I assess to be Zakharova,



9
   See https://www.voanews.com/a/investigation-who-is-ilya-gambashidze-the-man-the-us-government-
accuses-of-running-a-kremlin-disinformation-campaign-/7604052.html

                                                 22
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instructed the creation of “websites to tell the Germans the truth!” Another participant suggested

using “real facts to complement fake facts.” One suggestion included trying to “make a fake on an

American soldier that raped a German woman. That would be great!” Another note, titled “AP

Meeting Minutes, Monday, January 16” referenced another party as being “fully in charge of filling

the content on the Ukraine Tribunal portal.” That note also indicated a topic “for business-elites”

as “Bypassing sanctions: they don’t need to be lifted, they need to be bypassed.”

       55.       Although five of the notes did not list SVK as a participant, the meeting notes

indicate that the meetings discussed presentations, reports, and metrics related to Doppelganger

for SVK’s review and awareness as well as his reactions to, and approval of, various products. For

example, in a note titled “Minutes of the Meeting at the AP, August 1, 2022”, GAMBASHIDZE

mentioned that articles would be submitted to SVK’s office and that “so far three were well

received.” Other notes mentioned creating reports or presentations for SVK, to include media

monitoring. Another note, “Minutes_-_ECC_AP_05.04.23”, included a discussion of resources,

wherein a participant reported “SVK is not against including our influencers abroad.” 10 That note

referenced a French businessman whom the participants believed could do an “interview” for

“RRN.” A note titled “Meeting Minutes -_AP_01.18.23” refers to SVK as “listening to no more

than ten newsworthy events” and notes that “we need to create our OWN concept based on Ukraine

monitoring and Tabak’s concept.” GAMBASHIDZE noted, “They are expecting fake news from

us every day.”

       56.       At least 13 of the meeting notes listed “SAZ” as a meeting participant, which I assess

to be a reference to Zakharova due to her initials and the use of Sofia in the body of some notes.



10
   Another meeting note indicated that “we need influencers! A lot of them and everywhere. We are ready
to wine and dine them.”

                                                   23
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Based on my training, experience, this investigation, and the context and content of the notes, I

assess that Zakharova reported to KIRIYENKO and conveyed information regarding these

meetings to and from KIRIYENKO for his approval and further direction.

       57.     One note of a January 13, 2023, meeting attended by GAMBASHIDZE, Zakharova

and others mentioned they had “reported to the President about the project.” I assess that “the

President” refers to Russian President Vladimir Putin. The note stated that the participants should

not constrain themselves to specific countries; rather, “false stories spread could be initiated

everywhere, in different countries, even launched through media.” The note referenced specific

campaigns, including the use of influencers, a “media cluster” with “40-50 websites per country,”

which I assess refers to creating unique media brands led by ANO Dialog, and making “political

animated movies.” After mentioning “our fakes will be restored”, “the IAG team” was specifically

assigned to work on “analytical products and videos.” I assess that IAG is a reference to

GAMBASHIDZE.

       58.     In addition to foreign influence campaigns, Doppelganger also appears to have

conducted influence campaigns domestically within Russia, underscoring its close ties to the

Russian government. For example, one note indicates that the “project could be used for P’s

election campaign” which I assess to be a reference to Russian President Putin. Likewise, a

different meeting note from a meeting SAZ attended indicated the group discussed “Putin team--

example of work for the upcoming campaign” and explained that “Our battlefield is here. That’s

why men are not in Donbas.”

       59.     Another note, titled “Meeting Minutes_-_AP_Factory_01.27.23” includes the

instruction that “When providing a narrative it’s important to remember that this is ‘from a German




                                                24
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to a German’, ‘from a Frenchman to a Frenchman’!” I assess this to be a reference to the

Doppelganger’s strategy of posing as citizens of other countries in order to influence their publics.

     D. Internal SDA Documents, Correspondence, and Notes Take Credit for the Doppelganger
        Campaign and Discuss SDA’s Overarching Foreign Malign Influence Strategy

        60.     An SDA internal document titled “Countermeasures by foreign agencies and

organizations” which recounted that the “‘collective West’ countries are seriously concerned by

the effectiveness of the project” and that, along with “major online platforms, factcheckers and

investigators” they have “been involved in the effort of countering our narratives since September

2022.” The document went on to list and summarize 15 publications from various news sources

and organizations, such as Meta, Premier Ministre, The Washington Post, Wired, and Le Monde,

which discussed Doppelganger. I believe this document reflects SDA’s acknowledgment of its role

in Doppelganger. See Exhibit 2. 11

        61.     In a similar vein, another SDA document highlighted social media companies’

attempts to combat SDA, STRUCTURA, and ANO Dialog’s propaganda by identifying the

cybersquatted domains, as well as RRN, as suspicious and blocking them. The document set out a

plan to combat the social media companies’ disruption efforts by posting comments through social

media accounts to complements their use of bots and further publicize their narratives. The plan

was to post “60,000 comments per month for France and Germany combined.” See Exhibit 3.

        62.     SDA also possessed at least 27 invoices for the equivalent of thousands of U.S.

dollars’ worth of translation services. These invoices requested payments for the translation of



11
  Attached as Exhibits to this affidavit are the original Russian-language SDA documents lawfully obtained
during this investigation (see Exhibits 2B through 13B) as well as English-language translations (see
Exhibits 2A through 13A). All of the SDA documents were obtained prior to June 1, 2024. Consistent with
Department of Justice policy, redactions have been applied to certain identifiers contained within the
documents. The terms substituted in place of those identifiers in the English language translations relate to
the status of those persons or entities at the time the documents were obtained.

                                                     25
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files, identified by the file name. The file names on the invoices appear to correspond to the

headlines of articles published on the cybersquatted domains, including certain SUBJECT

DOMAINS. For example, one SDA invoice dated December 18, 2023, contained six file names,

which matched articles found either on washingtonpost[.]pm or fox-news[.]in. One of the partial

headlines listed on the SDA invoice was “Middle East Coalition of US Allies Crumbles.” I have

located and reviewed a corresponding article published on washingtonpost[.]pm that is titled

“Middle East Coalition of US Allies crumbles like a House of Cards.” Accordingly, I believe these

invoices reflect SDA’s payment for Doppelganger-related services. See Exhibit 1 at 6.

          63.     Multiple SDA documents detail SDA’s strategy for implementing its foreign malign

influence campaigns. Among these documents is what appears to be an initial concept plan for the

Doppelganger campaign, which specifically referenced GAMBASHIDZE, and noted “if we can,

we need a separate department for fakes - a factory!” 12 The document indicated the campaign

would target England, Germany, and Italy and would have “Two news sites: English-language and

German-speaking.” 13

          64.     A hallmark of the Doppelganger campaign was to impersonate U.S. and other non-

Russian citizens through the creation of fake social media profiles. Then, that social media profile,

posing as an American or other non-Russian citizen, would post comments or other content

promoting a pro-Russian narrative and include a hyperlink to the cybersquatted domain

impersonating a legitimate news outlet like The Washington Post or Fox News. Using this manner

of distribution, KIRIYENKO, GAMBASHIDZE, TUPIKIN, SDA, and STRUCTURA are able to

mislead, for example, American citizens into believing they are seeing the viewpoints of a fellow


12
     This translation was completed using machine translation software.
13
  This translation was completed using machine translation software. As discussed below, I assess that
these two “news” websites are likely references to RRN and Journalisten Freikorps.

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American citizen, rather than the Russian government’s view. SDA documents provide detailed

instructions on how these fake American social media profiles should distribute Doppelganger

content through social media platforms. For example, SDA documents provide instructions and

exemplar social media posts designed to influence the U.S. election. One such document first sets

out what appears to be an article, written in English, likely to be published on one of the

cybersquatted domains with the headline “U.S. Loses Its Position as a World Leader by Making

Too Many Mistakes” under the heading of “International Politics.” The document envisions the

creation of social media profiles posing as American citizens “living in a small town,” which would

post comments linking to the article in order to influence the views of actual American voters. That

document also provided suggested English-language comments for use in distributing the article

on social media. See, e.g., Exhibit 4, Exhibit 5.

       65.     Another 26-page SDA manual set forth a plan for a campaign targeting the

Ukrainian public. The manual showed SDA dividing its influence campaigns into four sections:

“monitoring, analytics, content production, and content delivery.” See Exhibit 6. This manual

described SDA’s efforts to create “articles (long reads)” which were “original texts ranging from

2,000 to 5,000 characters with spaces, devoted to topics relevant to the Ukrainian audience, which

fit into the main subject areas of the project. Each text is professionally edited and accompanied

by 10 comments and 3 teasers for disseminating the text on social networks.” I assess that SDA’s

reference to these articles, or “long reads”, refer to the original content produced by Doppelganger

and intended to be posted on domains SDA controls, including the SUBJECT DOMAINS, and

which may also be distributed through ANO Dialog’s unique media brands. Further, I assess that

the reference to “10 comments and 3 teasers” refers to SDA’s practice of spreading Doppelganger




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content by posting links to the cybersquatted domains through proposed social media comments,

as discussed in the preceding paragraphs.

          66.      SDA documents further reveal that SDA extensively monitors and collects

information about a large number of media organizations and social media influencers. One

document revealed a list of more than 2,800 people on various social media platforms like Twitter,

Facebook and Telegram, spanning 81 countries, that SDA identified as influencers, including

television and radio hosts, politicians, bloggers, journalists, businessmen, professors, think-tank

analysts, veterans, professors, and comedians. When referring to politicians, the list often

mentioned which U.S. state and/or political party they represent and the position they hold in

Congress. The U.S.-based influencers accounted for approximately 21% of the accounts being

monitored by SDA. On another list of over 1,900 “anti-influencers” 14 from 52 countries, the U.S.-

based accounts comprised 26% of the total accounts being monitored by SDA. I assess that “anti-

influencer” indicates that the account posts content that SDA views as contrary to Russian

objectives. Based on my review of other records obtained during this investigation, I know that

SDA adds information captured through its monitoring efforts to dashboards. These dashboards

analyze trends in public opinion and thereby measure the effectiveness of the malign foreign

influence campaign based on its impact on public opinion. SDA’s content varies from project to

project; however, it can include videos, memes, cartoons, social media posts, and/or articles. SDA’s

content delivery also varies each campaign, but often relies heavily on social media posts driving

targeted audiences to domains SDA controls, like the SUBJECT DOMAINS.




14
     This translation was completed using machine translation software.

                                                     28
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          67.     One SDA document outlined a project titled “International Conflict Incitement”

which targeted Germany and France. As described by SDA, the

          objective of the ‘International Conflict Incitement’ project is to escalate internal
          tensions in the countries allied with the United States in order to promote the
          interests of the Russian Federation on the international arena. To influence real-
          life conflicts and artificially create conflict situations, it is proposed to use a wide
          range of information tools to influence public opinion.

SDA intended for its project to result in the “[e]scalation of the conflict situation through the use

of available tools (traffic redirection, work with comments, work with influencers, analytical

articles, augmented reality, media mirror outlets, fakes, etc.) in order to destabilize the societal

situation.” I believe “media mirror outlets” is the term SDA used to refer to Doppelganger’s use

of cybersquatted domains to impersonate legitimate news outlets. The project intended to

artificially generate conflicts through, among other things, “spreading additional false narratives”;

“fake videos, documents, and telephone conversation recordings”; “comments on social media”;

and “fake and real quotes from influencers”. The project identified the “media mirrors outlets”;

“foreign and Russian influencers” and “bots and work with comments;” as “delivery channels” for

the project. See Exhibit 7.

          68.     In another document, SDA summarized its campaign against Germany, identifying

three major themes: (1) “HOHLI – pigs”; 15 (2) “The difference between Ukraine and Germany”;

and (3) “The U.S. is behind everything.” 16 It also included 43 ideas for propaganda, which were

all associated with one or more of the three themes listed above. The document placed each idea

into a table, complete with the target audience and media type. For example, one idea for “The

U.S. is behind everything,” theme was a “screenshot of the publication with a photo of the US


15
  After consulting with Ukrainian and Russian speaking FBI employees, I have learned that this term is a
derogatory word for Ukrainians.
16
     This translation was completed using machine translation software.

                                                     29
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Embassy in Germany. Headline: Scholz became employee of the month at the US Embassy.” This

screenshot and headline were meant to impress upon viewers that the U.S. directs German policy.

        SDA’s Foreign Malign Influence Plans for the 2024 U.S. Election

              1. The Good Old U.S.A. Project

        69.      SDA records show that, starting in the fall of 2023, SDA began developing a

campaign targeting the 2024 U.S. federal elections which it called “The Good Old U.S.A.

Project.” 17 See Exhibit 8. According to the planning document, the project’s goal was to influence

U.S. public opinion to align with the viewpoint “that the US should target their effort towards

addressing its domestic issues instead of wasting money in Ukraine and other ‘problem’ regions.”

The document laid out objectives and specific demographics for targeting U.S. audiences

(including specific messaging to voters in six swing states) through social media groups, social

media advertising, and influencers. The document specifically refers to the content to be

distributed by SDA as “bogus stories disguised as newsworthy events.” These “bogus” stories

would be complimented by “Mass distribution of text comments and memes in Facebook and X

(Twitter) discussion threads.” This “commentary campaign” would spread “false reworked project

narratives supported by facts” and engage in “targeted social engineering based on information

trends and users’ emotional attitude towards them.”

        70.      The Good Old U.S.A Project specifically highlighted the use of “[t]argeted

advertising” on social media that would enable SDA to track Americans reactions “to the

distributed material in real time, and directing the psychological response group to contribute to


17
   In the original Russian-language document, the words “The Good Old U.S.A.” were written in English.
This document followed a design template frequently used by SDA, featuring a red and black color scheme;
a common Cyrillic font; bolded, numerical section headers; and logo in the bottom left of each page. Based
on my review of documents obtained during this investigation, I know this template is frequently used by
SDA employees.

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comments thereof. With the help of a network of bots, the psychological response moderates top

discussions and adjust further launches depending on which group was affected the most.”

       71.     The use of targeted advertising by Doppelganger is corroborated by records

obtained from Meta pursuant to a warrant, which identified Meta pages and advertisements linked

to the Doppelganger campaign. Notably, those records revealed Doppelganger’s apparent use of

artificial intelligence tools to generate content, including images and videos, for use in negative

advertisements about U.S. politicians. Several of these Meta accounts were registered with account

names that approximate legitimate news media organizations, such as CNN California,

Sacramento Inside, California News, and California BBC (screenshots from the Meta pages

created by Doppelganger are contained below). The CNN California Facebook Page’s profile

picture displayed a blue version of the legitimate CNN logo with California written underneath in

the same shade of blue. The Page was listed on Facebook as a News and Media website and had a

banner in blue with the CNN logo also in blue that read BREAKING HOT NEWS /// HOT NEWS

/// and LIVEHD /// TODAY. Meta records also revealed that Doppelganger used credit cards issued

by U.S. financial institutions to purchase Facebook advertisements.




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                2. The “Guerrilla Media Campaign in the United States”

          72.      SDA documents include a proposal for another campaign focused on influencing

the United States, titled “The Guerrilla Media Campaign in the United States.” See Exhibit 9. 18

The Guerilla Media Campaign focused on exploiting the perceived polarization of U.S. society by

focusing on eight “Campaign Topics.” As reflected in the proposal, SDA anticipated using social

media profiles on Facebook, X (formerly known as Twitter), YouTube, and Truth Social but noted

that with “Facebook, Twitter and YouTube, we need to create multiple ‘perishable’ accounts,

primarily for the work with comments.” The Guerilla Media Campaign would disseminate its

propaganda through posts, “comments on social networks and local group chats”, memes, and

“video content, including news stories in the Fox News style.” SDA’s plan stated “In order for this

work to be effective, you need to use a minimum of fake news and a maximum of realistic

information. At the same time, you should continuously repeat that this is what is really happening,

but the official media will never tell you about it or show it to you.” I believe the reference to the

“work in the comments” is a reference to Doppelganger’s creation of inauthentic social media

profiles to post comments on social media that included links to the cybersquatted domains,

including the SUBJECT DOMAINS. Further, it appears that SDA required a large number of

“perishable” accounts to disseminate this content because of enforcement efforts by U.S. social

media companies to identify and deactivate accounts associated with Doppelganger. Finally, as

noted above, GAMBASHIDZE’s notes from meetings with the Presidential Administration reveal

a suggestion to use “real facts to complement fake facts.”




18
     This document follows the same template frequently used by SDA, like in The Good Old U.S.A. Project.

                                                    32
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              3. “U.S. Social Media Influencers Network” Project

        73.      SDA records revealed another influence campaign aimed at avoiding detection and

mitigation by U.S. social media companies by creating and developing “a network of 200 accounts

in Twitter, four in each of the 50 states: two active and two ‘dormant’ ones. Active accounts in each

state will be maintained on behalf of a fictitious individual, who actively supports” a political party

and “represents ‘a community of local activists.’” SDA actively sought to “eliminate the possibility

of detection of the ‘Russian footprint’ in the proposed project, a multi-level protection of the

infrastructure will be built. It will contain VPN services, physical servers located in the United

States, etc.” The project’s goal was to steadily increase the number of subscribers, eventually

reaching one million in one year. See Exhibit 10.

              4. Targeting the U.S. by Influencing Other Countries.

        74.      SDA records also revealed its planning of campaigns targeting foreign countries,

including Mexico and Israel, with the intent that those efforts would influence associated ethnic or

religious groups residing in the United States. The goal of these campaigns was twofold: (1) to

influence each countries’ populace; and (2) to influence the U.S. 2024 Presidential Election. A

Presidential Administration meeting note from January 13, 2023, revealed that one of the

objectives of the campaign, which had been assigned to GAMBASHIDZE, was to “draft a media

plan for work through expat community media outlets (Armenia--France; Turkey--Germany,

Israel--USA)” and to “compile a list of scenarios for stirring inter-ethnic, religious, racial, and

political conflicts in ‘focus countries’.”

        75.      For example, one SDA document with the sub-heading “PROJECT OF

EFFECTIVE PROXY PARTICIPATION IN THE NOVEMBER 2024 CAMPAIGN” presented a

theme of “México no perdona” which translates in English to “Mexico does not forgive.” See



                                                  33
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Exhibit 11. The campaign intended to encourage “anti-American sentiment” as well as to

exacerbate confrontation between the United States and Mexico. Although the campaign would

target Mexico, the campaign’s goal also intended to influence the U.S. Presidential Election. The

proposal concluded with: “Today, the time has come to show to the United States that it is under a

threat. And we can do it.”

       76.      As another example, an SDA document described a project titled The

Comprehensive Information Outreach Project in Israel (and also Jewish Community Outreach in

the US)”. See Exhibit 12. Similar to the document relating to Mexico, one of the stated goals of

this campaign was to influence the 2024 U.S. Presidential Election. Notably, the proposal

suggested creating “a full-fledged three language” information project that would “target Jewish

communities across the globe, first and foremost in Israel and the US.” I believe that this reference

to a full-fledged online information project is likely a reference to the unique Doppelganger media

brands discussed below.

       77.      Consistent with other Doppelganger campaigns explicitly targeting the United

States, this Israel-related campaign would involve the creation of a media brand, targeted

advertising to spread content, the publication of articles in legitimate media, and an operation

involving the widespread posting of social media comments impersonating Israelis. A separate

SDA document provided an example of how to pose as an Israeli and disseminate fake articles and

comments presenting an unattributed Russian narrative through comments on social media. See

Exhibit 13.

                       THE CYBERSQUATTED SUBJECT DOMAINS

       78.      The FBI’s investigation revealed that Doppelganger leased numerous cybersquatted

domains from U.S. companies Namecheap, NameSilo, and GoDaddy using four online personas,



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which I refer to as Kethorn, Kamcopec, Kaspartill, and Anguillet. Each of these personas used

email accounts that incorporated the persona’s name in the email address. I believe that the identity

information provided to lease the domains is false given inconsistencies in names, mailing

addresses, and naming conventions of the associated email addresses. These four online personas

had significant overlap in the legitimate news sources their cybersquatted domains impersonated.

All four personas leased domains impersonating Der Spiegel,19 three personas leased domains

impersonating Bild 20 and T-Online, 21 and two personas leased domains impersonating Reuters, 22

Delfi, 23 and Süddeutsche Zeitung. 24

          79.     The personas used a similar pattern of cryptocurrency 25 payments and Proton Mail

email addresses. 26 In general, Doppelganger actors took steps to obfuscate the origin of the




19
     Der Spiegel is a German news magazine and website based in Hamburg using the domain spiegel.de.
20
     Bild is a German newspaper and website based in Berlin using the domain bild.de.
21
     T-Online is a German news website based in Berlin using the domain t-online.de.
22
   Reuters is a joint British/Canadian news agency that is one of the largest news companies in the world.
It uses the domain reuters.com.
23
  Delfi is a news website in Estonia, Latvia, and Lithuania using the following domains delfi.ee, delfi.lv,
delfi.lt, pl.delfi.lt, and en.delfi.lt.
24
  The Süddeutsche Zeitung, published in Munich, Bavaria, is one of the largest daily newspapers in
Germany and uses the domain sueddeutsche.de.
25
  Based on my training and experience and consultation with FBI subject matter experts, I know that many
criminal actors used virtual currencies or cryptocurrency, like Bitcoin, in order to obfuscate their activity.
In general, transactions involving cryptocurrencies are posted to a public ledger, like the Bitcoin Blockchain
(which can be reviewed through any number of open-source blockchain explorer websites or proprietary
software programs that provide user-friendly interfaces to view data from the Bitcoin Blockchain).
Although transactions are visible on the public ledger, each transaction is only listed by a complex series
of numbers that do not identify the individuals involved in the transaction. This feature makes virtual
currencies pseudo-anonymous; however, it is sometimes possible to determine the identity of an individual
involved in a transaction through several different tools that are available to law enforcement. Bitcoin are
sent to and received from Bitcoin “addresses.” A Bitcoin address is somewhat analogous to a bank account
number and is represented as a 26-to-35-character-long case-sensitive string of letters and numbers.
26
     Proton Mail is an end-to-end encrypted email service based in Switzerland.

                                                      35
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cryptocurrency by using services like ChangeNOW and cryptocurrency mixing algorithms to

obfuscate the originating cryptocurrency wallet used in their transactions.

        80.     Based on the commercially available cryptocurrency analysis tools 27 and analysis

by an FBI cryptocurrency subject matter expert, these personas’ cryptocurrency transactions with

NameSilo and Namecheap show that the transactions originated with a cluster of cryptocurrency

wallets. In this case, the FBI determined that the aforementioned cluster of wallets was funded by

an account at a virtual currency exchange (“VCE-1”). 28

        81.     Records received from VCE-1 pursuant to legal process revealed that the funding

account belonged to an individual referred to herein as “Konstantin”. 29 Those records showed that

Konstantin provided Russian identification documents to VCE-1 and only accessed his account at


27
   While the identity of the address owner is generally anonymous, law enforcement may be able to ascertain
information about the identity of the owner of a particular address by analyzing the Blockchain. The
analysis can also reveal additional addresses controlled by the same individual or entity. For example, a
user or business may create many addresses to receive payments from different customers. When the user
wants to transact the cryptocurrency that it has received, it may group those addresses together to send a
single transaction. Law enforcement uses sophisticated, commercial services offered by several different
Blockchain-analysis companies to investigate transactions. These companies analyze the Blockchain and
attempt to identify the individuals or groups involved in the transactions. Specifically, these companies
create large databases that group transactions into “clusters” through analysis of data underlying
transactions. Through numerous unrelated investigations, law enforcement has found the information
provided by these companies to be reliable. The third-party Blockchain-analysis software utilized in this
case is software used by banks and law enforcement organizations worldwide. This third-party Blockchain
analysis software has supported many investigations and been the basis for numerous search and seizure
warrants, and as such, has been found to be reliable. Computer scientists have independently shown that
they can use “clustering” methods to take advantage of clues in how cryptocurrency is typically aggregated
or split up to identify addresses and their respective account owners. See generally United States v.
Sterlingov, 2024 WL 860983 (D.D.C. Feb. 29, 2024) (analyzing reliability of commercial Blockchain-
analysis software).
28
   A virtual-currency exchange is a virtual-currency trading platform. Virtual currency exchanges typically
allow trading between the U.S. dollar, other foreign currencies, Bitcoin, and other digital currencies. Many
virtual-currency exchanges also act like virtual banks and store their customers’ Bitcoin. Virtual currency
exchanges doing business in whole or in substantial part in the United States are regulated under the Bank
Secrecy Act, codified at 31 U.S.C. § 5311 et seq., and must comply with federal regulations designed to
combat money laundering, including the collection of identifying information about their customers.
29
  Konstantin’s full name is known to law enforcement but omitted here due to the ongoing nature of law
enforcement investigations.

                                                    36
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VCE-1 through IP addresses that resolve to Russia. On March 7, 2024, Konstantin was interviewed

by U.S. law enforcement regarding his VCE-1 accounts and suspected criminal activity.

Konstantin stated he was a “point to point” exchanger on VCE-1. In describing his business,

Konstantin stated the funds that went through his accounts came from point to point requests and

he had no direct communication with the people he moved the funds for, nor did he know the

origin of the funds. Based on these facts and the analysis described above, I believe there is

probable cause to believe the funds used to lease the SUBJECT DOMAINS by the four personas

as described below, originated from outside the United States.

       82.     An analysis of the registrar account login records for the personas revealed that the

vast majority of the login timestamps roughly correspond to Moscow business hours. The IP

addresses used to access the registrars all resolved to either VPS services, or IP addresses that the

cybersecurity company Spur 30 previously associated with criminal cyber actors who compromise

IP addresses and sell access to them, to allow buyers to gain further anonymity online. Even the

VPS services used by the personas were accessed through other VPS services and paid for using

cryptocurrency.

       83.     For example, the Kamcopec persona used a particular IP address from a VPS

service to lease one of the domains discussed herein. Records received pursuant to legal process

revealed that a VPS service leased that IP to an account, which used another operational email

address 31 and a second VPS service to access the first VPS. That second VPS account accessed a

GitHub repository which contained a script for layering VPSs. Based on the use of that repository,



30
   Spur is a U.S. cybersecurity industry leader specializing in detecting anonymous infrastructure cyber
criminals use to obfuscate their locations and identities.
31
  Based on my training and experience, I know cybercriminals often create “operational” email addresses
using fake identifying information to conduct illegal activity as a way to obfuscate their identity.

                                                  37
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I believe the Kamcopec persona was using at least three layers of VPS services to obfuscate their

true identity and location. Based on my training and experience, this layering on top of layering of

VPSs and operational email addresses, like Russian nesting dolls, are indicative of a high level of

technical sophistication evidencing an intentional, willful desire to conceal identities and

whereabouts that is commonly associated with state-sanctioned action. As noted above, internal

SDA documents revealed that SDA actively sought to reduce the chance of “detecting the ‘Russian

footprint’ in the proposed project,” by using “a multi-level security infrastructure” including VPN

services and physical servers located in the U.S.

           84.     Based on the aforementioned similarities, I assess that these personas were all used

in coordination and furtherance of the Doppelganger campaign either by individuals working for

the sanctioned entities SDA and STRUCTURA, as well as ANO Dialog, and/or their co-

conspirators, at the direction of KIRIYENKO, a sanctioned person, and the Russian government.

Furthermore, as described herein, there is probable cause to believe that the funds used to lease the

SUBJECT DOMAINS originated outside the United States.

            A. The Kamcopec Persona

           85.     Information received from GoDaddy, a U.S. company, pursuant to legal process

indicated that the Kamcopec persona leased the following 30 cybersquatted domains used in the

Doppelganger campaign: washingtonpost[.]ltd, lemonde[.]ltd, 32 leparisien[.]ltd, 33 spiegel[.]pro,

bild[.]llc, bild[.]ws, welt[.]ltd, 34 welt[.]ws, welt[.]media, spiegel[.]work, nd-aktuell[.]net, 35 nd-




32
     Le Monde is a French daily afternoon newspaper that uses the domain lemonde.fr.
33
     Le Parisien is a French daily newspaper that uses leparisien.fr.
34
     Die Welt (“The World”) is a German national daily newspaper that uses the domain welt.de.
35
     Neues Deutschland is a German daily newspaper that uses the domain nd-aktuell.de.

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aktuell[.]pro, nd-aktuell[.]co, bild[.]work, obozrevatel[.]ltd, 36 rbk[.]media, 37 milliyet[.]com.co, 38

albayan[.]me, 39 gulfnews[.]ltd, 40 pravda-ua[.]com, 41 faz[.]ltd, 42 faz[.]agency, faz[.]life,

spiegel[.]agency, sueddeutsche[.]ltd, sueddeutsche[.]me, sueddeutsche[.]cc, sueddeutsche[.]co,

tagesspiegel[.]ltd, 43 and tagesspiegel[.]co. The Kamcopec persona also leased three non-

cybersquatted domains: fraiesvolk[.]com, fraiepozition[.]store, and fraiepozition[.]site. 44

          86.      The Kamcopec GoDaddy account was registered using the name Iakov Shultz, a

GMX email account, and a Polish address and phone number. Records received pursuant to legal

process show these domains were generally leased for one year, and the majority are inactive. The

inactive domains were either taken down by the registries or registrars, or not renewed. Of the

aforementioned domains, nine SUBJECT DOMAINS identified in the preceding paragraph remain

active; however, one of those domains appears to have been taken over by one of the

cybersquatting victim companies, Süddeutsche Zeitung. The Kamcopec GoDaddy account used at

least five VPS services, all of which are non-U.S. companies, one of which Spur linked to




36
     Obozrevatel is a Ukrainian news outlet that uses the domains OBOZ.ua and Obozrevatel.com.
37
     RBK is a Russian media group that runs a newspaper, TV station, and the website, rbc.ru.
38
     Milliyet is a Turkish newspaper based in Istanbul that uses the domain milliyet.com.tr.
39
  Al-Bayan is an Arabic language newspaper in the United Arab Emirates (UAE) which is owned by
Government of Dubai that uses the domain albayan.ae.
40
   Gulf News is a daily English language newspaper published from Dubai, UAE, currently distributed
throughout the UAE and also in other Persian Gulf Countries that uses GulfNew.com.
41
     Ukrainska Pravda is a Ukrainian online newspaper using the domain pravda.com.ua.
42
     Frankfurter Allgemeine Zeitung is a German newspaper that uses the domain. faz.net.
43
 Der Tagesspiegel is a German daily newspaper, though it has a regional correspondent office in
Washington, D.C. and uses the domain tagesspiegel.de.
44
  Based on my training and experience and information gathered through this investigation, I believe that
the fraiesvolk domain was intended to mimic a German daily newspaper published in the 1950s that was
highly critical of the Allied Powers.

                                                       39
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cybercriminal activity, and an Argentinian internet service provider to lease the eleven SUBJECT

DOMAINS.

       87.     Each of the SUBJECT DOMAINS leased from GoDaddy by the Kamcopec persona

were paid for using credit cards issued by U.S. financial institutions. Each of the SUBJECT

DOMAINS was leased from GoDaddy between the hours of 4:22 A.M. and 6:08 P.M., Moscow

time. Specifically, the Kamcopec persona paid for the following SUBJECT DOMAINS using a

credit card issued by a U.S. financial institution: sueddeutsche[.]co, tagesspiegel[.]co, faz[.]life,

bild[.]work, and rbk[.]media. The Kamcopec persona paid for the following SUBJECT

DOMAINS using a credit card issued by a different U.S. financial institution: faz[.]ltd,

lemonde[.]ltd, leparisien[.]ltd, spiegel[.]agency, and Pravda-ua[.]com.

       88.     Records received pursuant to legal process revealed that the credit cards used to

lease the aforementioned SUBJECT DOMAINS from GoDaddy were issued by U.S. banks to a

U.S. company that has significant ties to, and employees based in, Russia. Consistent with other

identified Doppelganger actors, the Kamcopec persona generally used IP addresses that resolved

to VPS companies for their transactions. Based on my training and experience I know criminal

cyber actors frequently use VPS companies to obfuscate their location, however analyzing their

time stamps can reveal relevant information as to the cyber actor’s potential location. For example,

here, the VPS IP logins revealed that the actor behind the Kamcopec persona is most likely located

in Russia. I assess that the Kamcopec persona either transferred money from Russia to the U.S.-

based company, which acquired credit cards from U.S. institutions in order to obfuscate the source

of the funds or paid off the credit cards used to lease the domains with funds from Russia.




                                                 40
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          89.     Of the nine remaining domains initially leased from GoDaddy, five domains have

been transferred by the Kamcopec persona to other registrars. 45 Specifically, on March 14, 2024,

spiegel[.]agency was transferred to NewFold Digital, which is a U.S. registrar, but the registry

remained Identity Digital Limited. On May 1, 2024, pravda-ua[.]com was transferred to Long

Drive Domains, also a U.S. registrar, however the registry remained Verisign Global Registry

Services.

          90.     For the remaining three domains, while the registrar was transferred to a foreign

registrar, the registry for all three remained U.S. companies. Accordingly, there is probable cause

to believe that when the domains were transferred, thus renewing the lease on the domain, a portion

of those funds are used by the overseas registrar to pay the U.S.-based registries. On February 21,

2024, bild[.]work was transferred to GMO Internet, which is a Japanese registrar doing business

as Onamae.com, but the registry remained GoDaddy Registry Services, LLC. On December 28,

2022, lemonde[.]ltd was transferred to Nameshield SAS, a French registrar, but the registry

remained Identity Digital Limited. On February 2, 2022, leparisien[.]ltd was also transferred to

Nameshield SAS, but the registry remained Identity Digital Limited.

          91.     Records received pursuant to legal process revealed that the Kamcopec persona

also leased the cybersquatted domains foxnews[.]cx, bild[.]bz, and lefigaro[.]me 46 from

Namecheap. However, in registering with Namecheap, the person using the Kamcopec GMX

email account used a different name, address, and phone number than what was provided to

GoDaddy. Additionally, the Namecheap account was accessed by a secondary Proton Mail account

and used cryptocurrency to lease its domains, none of which are still active. I believe that the


45
 Domain transfer is a process of changing domain name registrars which is a common and simple process.
When a domain is transferred it automatically renews the domain.
46
     Le Figaro is a French daily morning newspaper founded in 1826 using the domain lefigaro.fr.

                                                     41
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Kamcopec persona’s provision of different names, addresses, and phone numbers to GoDaddy and

Namecheap is indicative of an effort to obfuscate the true identity and location of the person(s)

behind the Kamcopec persona, whom I assess to be located in Russia.

         B. The Kethorn Persona

        92.     Information received pursuant to legal process from NameSilo and Namecheap

identified accounts created using a Proton Mail email address used by the Kethorn persona.

Between June 26, 2022, and October 2, 2022, the Kethorn persona leased six domains from

NameSilo and 24 from Namecheap. The domains include cybersquatted domains affiliated with

the Doppelganger campaign that impersonated legitimate news sources and organizations

including Reuters, Der Spiegel, T-Online, Bild, Delfi, la Repubblica, 47 and ManaBalss. 48

        93.     Specifically, the Kethorn persona leased the following domains: 70-putin-

freunde[.]de, freikorps[.]press, 49 friekorps[.]press, jfreicorp[.]press, jfriecorp[.]press, sieben-



47
  La Repubblica is an Italian newspaper and website using the following domains repubblica.it,
quotidiano.repubblica.it, and video.repubblica.it.
48
  ManaBalss.lv is a civic organization based in Latvia that launched in June 2011 to provide a possibility
for the citizens of Latvia to promote their initiatives and gain support for these initiatives for further
submission to the national parliament of Latvia.
49
   Another one of the purportedly independent media brands that has been identified as having been
established by the Doppelganger campaign is Journalisten Freikorps. This brand appears to be a reference
to the German Freikorps which was a paramilitary unit that existed in Germany for decades. During World
War II, many former Freikorps members rose to power in the Nazi party. I know that the Russian
government has made claims about the presence of purported Nazis or Neo-Nazis in Ukraine as a
justification for Russia’s invasion of Ukraine. I accessed both freikorps[.]press and jfriecorp[.]press using
the Wayback Machine and ascertained that both webpages ostensibly posted news stories in German
consistent with other Doppelganger content using the same Freikorps logo and banner. Through the
investigation, the FBI identified an associated email address that incorporated “J.Freikorps” that was
created on August 24, 2022, two days after a Telegram channel associated with Journalisten Freikorps
started posted on Telegram inviting journalists to share their pieces. Records received pursuant to legal
process revealed the subscriber’s name for the “J.Freikorps” email address was Journalisten Freikorps and
that an SDA employee’s email address was connected to that account by cookies. Based on my training and
experience, I know that when two or more accounts are linked by cookies, this means that the accounts
were accessed using the same device(s) and are likely accessed by the same user(s). Thus, there is probable
cause to believe that SDA is directing and controlling the Journalisten Freikorps campaign.

                                                     42
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fragen-putin[.]de, tonline[.]life, tonline[.]today, t-onlinr[.]life, t-onlinr[.]live, t-onlinr[.]today,

delfi[.]today,    spiegel[.]fun,    spiegel[.]quest,       spiegel[.]today,     spiegel[.]today,     winter-is-

comming[.]de, landwirtinnen[.]de, help-to-migrant[.]de, reuters[.]cfd, reuters[.]cyou, bild[.]vip,

bild[.]asia, delfi[.]today, delfi[.]top, Repubblica[.]icu, repubblica[.]world, socialharmony[.]de,

manabalss[.]li, and musubalss[.]org.

        94.      Of the aforementioned domains, only delfi[.]top appears to still be active and under

SDA control. The Kethorn persona provided Namecheap with a German address and German

phone number to lease domains and used German IP addresses resolving to a German VPS service

to lease all the aforementioned domains. On July 12, 2022, the Kethorn persona sent

cryptocurrency to Namecheap to lease delfi[.]top. While the delfi[.]top domain was initially leased

from Namecheap, on February 15, 2024, the Kethorn persona transferred delfi.top to Tucows, a

Canadian registrar. As noted above, this transaction, along with the initial lease of all the

aforementioned domains leased by this persona, originated from a cluster of wallets that were

funded by Konstantin P.

         C. The Kaspartill Persona

        95.      Information received pursuant to legal process from NameSilo and Namecheap

identified accounts created using a Proton Mail email address, hereafter referred to as the Kaspartill

persona, which leased three domains from NameSilo and 14 from Namecheap. Specifically, the

Kaspartill persona leased the following domains: spiegel[.]ink, sueddeutsche[.]online, t-

online[.]life,   bild[.]pics,   dailymail[.]cam, 50    dailymail[.]cfd,       delfi[.]life,   repubblica[.]life,




50
  The Daily Mail is a British daily tabloid newspaper published in London that also uses the domain
dailymail.co.uk.

                                                      43
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spiegeli[.]life, spiegeli[.]live, spiegeli[.]today, reuters[.]sbs, dailymail[.]top, blld[.]live, itcb[.]life,

dekommnt[.]live, and ukcommunity[.]vip.

        96.     Of the aforementioned domains, only dailymail[.]top appears to still be active and

under SDA control; however, on or about October 18, 2023 the Kaspartill persona transferred

registrars for the domain from Namecheap to Alibaba Cloud Computing. The Kaspartill persona

provided Namecheap with a German address, German phone number, and used a German IP

address resolving to a German VPS service to lease all the aforementioned domains. On June 9,

2022, the Kaspartill persona sent cryptocurrency to Namecheap to lease dailymail[.]top. The

transaction took place at approximately 7:30 AM Moscow time and was effectuated using BTCPay.

As noted above, this transaction, along with the initial lease of all the aforementioned domains by

this persona, originated from a cluster of wallets that were funded by Konstantin.

        D. The Anguillet Persona

        97.     Information received pursuant to legal process from Namecheap identified an

account registered using a Proton Mail account, hereafter referred to as the Anguillet persona, as

having leased the following nine domains, all of which are no longer active: Spiegelr[.]live,

spiegelr[.]today,      t-onlinl[.]life,    t-onlinl[.]live,     t-onlinl[.]today,      sueddeutsche[.]life,

sueddeutsche[.]site, sueddeutsche[.]today, and spiegelr[.]life. Anguillet also used cryptocurrency

to lease its domains and provided a German address, German phone number, and German IP

addresses resolving to a German VPS service to lease the aforementioned domains.

                THE U.S. TRADEMARK INFRINGING SUBJECT DOMAINS

        98.     Four of the SUBJECT DOMAINS infringe on the trademarks of U.S. media outlets.

Specifically, washingtonpost[.]pm, washingtonpost[.]ltd, fox-news[.]in, fox-news[.]top, and

forward[.]pw, are domains operated by Doppelganger that are likely to confuse, mislead, or



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deceive viewers into believing they are visiting the legitimate Washington Post, Forward, and Fox

News websites. 51 See Exhibit 1. These SUBJECT DOMAINS not only feature infringing content

but also are themselves infringing through their use of registered trademarks as part of the domain

name.

          99.     The Washington Post is an American daily national newspaper published in

Washington, D.C. According to its website, The Washington Post’s mission statement includes

seven principles, including “to tell the truth as nearly as the truth may be ascertained.” The

legitimate domain for The Washington Post is washingtonpost.com. The following marks have

been registered on the Principal Register maintained by the USPTO by WP Company LLC on

behalf of The Washington Post:

          The wordmark: 52              The Washington Post
          The stylized wordmark: 53



          The wordmark: 54              Democracy Dies in Darkness

          100.    I   have   reviewed     content     published     on    washingtonpost[.]pm         and

washingtonpost[.]ltd. Those domains feature articles purportedly written by a Washington Post

reporter and feature their pictures and bylines. A review of the legitimate Washington Post website

reveals no such articles written by that journalist. The washingtonpost[.]pm and

washingtonpost[.]ltd domains use the registered marks of The Washington Post.

51
   The registry for fox-news[.]in is National Internet Exchange of India and the registrar is Tucows, Inc.
The registry for fox-news[.]top is .TOP Registry and the registrar is Tucows, Inc. The registry for
forward[.]pw is Micronesia Investment and Development Corporation and the registrar is Sarek Oy. The
registry for washingtonpost[.]pm is Association Francaise Pour Le Nommage Internet en Cooperation and
the registrar is Sarek Oy.
52
   Registration number 1665832.
53
     Registration number 1665831.
54
     Registration number 6590892.

                                                    45
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        106.    The true IP address 60 for forward[.]pw resolves to a Hostinger VPS IP address.

Records received from Hostinger pursuant to legal process, reveal that the Hostinger VPS was

leased by adampalmer1973[@]proton.me on May 18, 2023 using cryptocurrency. The account

accessed the Hostinger VPS using all three of the Doppelganger Servers leased from the British

provider, including the 11.27 Server. 61 Based on my training and experience, I know that when a

person leases a VPS server, like the 11.27 Server, only that person or individuals they grant access

to, can use that VPS server. Accordingly, I assess that any account or domain accessed from the

11.27 VPS server is a member of the Doppelganger conspiracy.

        107.    As described further above, the SUBJECT DOMAINS were used by Doppelganger

as part of a foreign malign influence campaign carried out at the behest of the Russian government.

SDA and STRUCTURA are Russian companies that list various Russian government entities as

clients and that perform work for the Russian government.

                        The Unique Media Brand SUBJECT DOMAINS

        108.    As noted above, in addition to impersonating legitimate news outlets,

Doppelganger, led by ANO Dialog and TABAK, under the direction and control of KIRIYENKO,

a sanctioned person, also created original media brands (which are included among the SUBJECT

DOMAINS). These brands purport to be independent journalists or news media organizations but

are actually under the direction and control of the Russian government. The investigation has




60
  A true IP address for a domain is the server where the actual information that comprises the website or
webpage resides. Accordingly, a True IP address for a domain is leased or purchased by the individual in
control of the domain.
61
   As noted above, records received pursuant to legal process revealed that Doppelganger leased three
servers from the Provider who provided the 11.27 Server in three-month intervals before switching to a
new server from the same Provider.

                                                   48
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revealed that as ANO Dialog created the domains for its purportedly unique media brands, it also

registered email addresses that correspond to those domains.

        A. RRN, War on Fakes, and the RoyGeneral Persona

        109.       As discussed above, GAMBASHIDZE’s notes from Presidential Administration

meetings with KIRIYENKO document the use of Reliable Recent News (“RRN”) by TABAK and

ANO Dialog to further the malign influence campaign, noting “They were assigned Russian

Reliable News – changed it into Recent, it’s going to work.(was sent by Tabak).” RRN was hosted

at rrn[.]world and published in numerous languages. As the Meta coordinated inauthentic behavior

reports 62 note, RRN “maintain[ed] accounts on Twitter and Telegram, which were amplified by

the operation’s Facebook Pages. The Facebook Pages of the Russian diplomatic missions in

Malaysia, Sweden, Hungary, Slovakia and Bangladesh shared links to the site.” According to Meta,

Doppelganger articles would often appear on RRN after they were posted on the cybersquatted

domains: “For example, the same article about Bucha was published on the same day in English

on the spoofed Guardian site, in Italian on the spoofed ANSA site, and in German on the spoofed

Spiegel site. It also appeared in English, French, German, Italian, Spanish and Chinese on

rrn[.]world.” 63

        110.       Information received from NameSilo, a U.S. company, pursuant to legal process

revealed that the domain rrn[.]world was registered on June 6, 2022, by an identified individual,


62
   Starting on September 27, 2022, Meta released a series of reports regarding Doppelganger. These
reports are available to the public on Meta’s website.
63
   During the Russian occupation of Bucha, Ukraine, numerous reports of Russian war crimes were alleged.
After the Russian military retreated from the town, independent journalists confirmed significant atrocities
largely against the civilian population. See https://www.hrw.org/news/2022/04/21/ukraine-russian-forces-
trail-death-bucha. “The Russian Defense Ministry denied allegations that its forces killed civilians in Bucha,
stating in a Telegram post on April 3, [2022] that ‘not a single local resident has suffered from any violent
action’ while Bucha was “under the control of the Russian armed forces,’ and claiming instead that the
evidence of crimes was a ‘hoax, a staged production and provocation” by authorities in Kyiv.” On July 7,


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using a Moscow address, with email address reliablerecentnews[@]gmail.com. The individual

applied for and received visas from the State Department to enter the United States from Russia in

2008, 2012, 2015, and 2019. Information received from Google pursuant to legal process revealed

that reliablerecentnews[@]gmail.com was created on July 14, 2023, with the name Reliable Recent

News, a recovery email of rrussianews[@]gmail.com and recovery telephone number that matched

the number provided by the individual on her State Department applications.

        111.    I determined that rrn[.]world continued to post Doppelganger content until

approximately July 10, 2024, when it appears ANO Dialog lost control of the domain. At some

point shortly thereafter, unknown actors took over the domain and renamed it Rotten Reliable

News and used the domain to publish information regarding Doppelganger’s methods and

activities, much of which I know to be accurate.

        112.    Records received pursuant to legal process from Namecheap, revealed that on July

26, 2023, a week after the VIGINUM report was published identifying rrn[.]world as part of

Doppelganger, RoyGeneral[@]proton.me was used to register an account with Namecheap and

lease rrn[.]media and vip-news[.]org. In registering that Namecheap account, the RoyGeneral

persona provided a Beaverton, Oregon address and what appeared to be an incomplete U.S. phone

number. Law Enforcement and open-source records checks indicate the name and home address

provided are not correlated. Additionally, as further discussed below, the RoyGeneral persona also

created an account with NameSilo to lease three more Doppelganger domains and provided a New

York City address and Canadian phone number.




2022, RRN published an article titled “Video: False Staging in Bucha Revealed!” which falsely alleged the
atrocities were staged by Ukraine.

                                                   50
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       113.     On July 26, 2023, the RoyGeneral persona accessed Namecheap with an Estonian

VPS IP address ending in 77.25 (the “77.25 Server”) and deposited $55.00 with BitPay. 64 That

same day, the RoyGeneral persona used $42.90 of the $55 deposited to lease rrn[.]media. Like

the 11.27 Server, given the frequent use of the 77.25 Server by Doppelganger actors, I assess that

the 77.25 Server was leased by Doppelganger and only accessible to persons involved in

Doppelganger.

       114.     As discussed further below, the RoyGeneral, Goodbye, Levinaigrenet,

Holylandherald, and Artichocio personas used the 77.25 Server to access their Namecheap

accounts between February 27, 2023 and July 12, 2024. On at least four occasions, more than one

Doppelganger persona accessed their Namecheap accounts at approximately the same times using

this same IP address. This was not the only shared IP address. Between May 11, 2024 and July 1,

2024, the RoyGeneral, Levinaigrenet, Holylandherald, and Artichocio personas each accessed

their Namecheap accounts on at least two occasions from the same Dutch IP address resolving to

the same Russian VPS ending in 76.173 (the “76.173 Server”). Based on my training and

experience, I know that unlike VPNs, which tend to be used once and discarded, when cyber-

criminals lease a VPS they will frequently make use of that particular server for a period of time

until the lease ends. For example, records received pursuant to legal process revealed that

Doppelganger leased servers from the Provider who provided the 11.27 Server in three-month

intervals before switching to a new server from the same Provider.




64
   As noted below, the persona responsible for leasing levinaigre[.]net, warfareinsider[.]us, and
meisterurian[.]io also accessed Namecheap from the 77.25 Server. Likewise, the individual responsible
for leasing holylandherald[.]com, grenzezank[.]com, and lexomnium[.]com also accessed Namecheap
from the 77.25 Server.

                                                 51
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       115.    On July 1, 2024, the RoyGeneral persona accessed Namecheap via three IP

addresses, including a British IP address resolving to a Russian VPS that Spur has linked to a

cybercriminal network, a Moscow IP address that Spur has linked to a cybercriminal network, and

from the 76.173 Server. That same day, the RoyGeneral persona deposited $300.00 with BitPay

and used $42.90 to renew the lease for rrn[.]media and $7.66 to lease vip-news[.]org. I reviewed

materials posted on rrn[.]media and discovered that it uses the same logo and branding as the

original rrn[.]world and continues to post content consistent with the malign influence campaign

previously posted on rrn[.]world.

       116.    In addition, records received from OpenAI, a U.S.-based artificial intelligence

research organization, revealed the purchase of multiple artificial intelligence program accounts,

like ChatGPT, to generate and edit articles and comments specifically for rrn[.]media and other

Doppelganger-linked domains. There were five email accounts used to register for OpenAI

services linked to Doppelganger. Records received pursuant to legal process revealed one of those

email accounts was connected by cookies to reliablerecentnews[@]gmail.com. Based on my

training and experience, I know that when two or more accounts are linked by cookies, this means

that the accounts were accessed using the same device(s) and are likely accessed by the same

user(s). One of the other email accounts used to register for OpenAI was connected by cookies to

37 other email accounts. Almost all of these connected email accounts used naming conventions

that corresponded to domains used by Doppelganger as part of their unique media branding

operation, including some of the SUBJECT DOMAINS, as discussed further below.

       117.    One of the SUBJECT DOMAINS, waronfakes[.]com, was discussed in length in

the VIGINUM report:

       The first articles published on RRN website were identical copies of articles
       previously published on the fake Russian fact-checking website War on Fakes,


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       launched a few hours after Russia invaded Ukraine. Quickly identified for its role
       in legitimizing the Russian ‘special military operation’ and discrediting the
       Ukrainian State, War on Fakes has also been amplified by at least 65 official
       Facebook pages and official Twitter accounts of the Russian diplomatic network.
       Moreover, War on Fakes the administrator’s login page has been set up to redirect
       traffic to rrussianews.com, thereby establishing a technical link between the two
       websites. The domain name waronfakes[.]com was registered on 1 March 2022
       and was updated a year later by Timofey VASILIEV a Russian citizen known for
       having worked for ANO Dialog. Dialog is an organization created in 2019 under
       the supervision of the Russian Presidential Administration and the Department of
       Information Technologies of Moscow city. In charge of a portion of the public
       relations and communication strategy of Moscow, ANO Dialog has been accused
       of conducting online propaganda activities on behalf of the Russian State. 65

       118.    As noted in the VIGINUM report, the administrator’s login page for

waronfakes[.]com redirected traffic to rrussianews.com. The corresponding email address for

rrussianews.com, rrussiannews[@]gmail.com was the recovery email for the above-described

Russian citizen’s reliablerecentnews[@]gmail.com account, which in turn was used to register the

rrn[.]world domain. In addition, SDA records revealed that GAMBASHIDZE had the resume of

an individual assessed to be working for Doppelganger, who described their experience from

October 2022 to present as a writer for the Telegram channel war on fakes, with duties including

writing posts for the channel war on fakes and war on fakes analytics, and working on translations

and open-source research. Waronfakes[.]com is leased from an overseas registrar which leases

the domain from the U.S. registry, VeriSign Global Registry Services (“VeriSign”). Accordingly,

there is probable cause to believe that when ANO Dialog renews the lease on the domain, a portion

of those funds are used by the overseas registrar to pay VeriSign in the United States for the benefit

of sanctioned persons.




65
    Available at   https://www.sgdsn.gouv.fr/files/files/20230719_NP_VIGINUM_RAPPORT-
CAMPAGNE-RRN_EN1.pdf

                                                 53
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       B. Other Doppelganger Media Brands

       119.   Based on records received pursuant to legal process, open-source research, the

content of articles published on the domains, and information obtained throughout this

investigation, I assess that each of the SUBJECT DOMAINS listed below is part of Doppelganger.

          1. The Demon Accounts

       120.   As noted above in paragraph 116, five email accounts were identified as using

OpenAI services in furtherance of Doppelganger. Records received from Google pursuant to legal

process revealed that one of those accounts (the “Demon Account”) was subscribed in the name

of “White Seo.” When it was registered, the Demon Account selected Russian as its language,

listed a Russian recovery email ending in .ru with the same naming convention, namely “Demon”

followed by a string of numbers, and provided a Russian phone number. The Demon Account was

linked by cookies to 37 other email accounts with naming conventions that correspond to domains

connected to Doppelganger’s unique media branding operation, including some of the SUBJECT

DOMAINS, such as:

        Email Account Linked by Cookies to the Corresponding SUBJECT DOMAIN
        Demon Account
        holylandheraldcom[@]gmail.com          holylandherald[.]com

        mypride.press[@]gmail.com                    mypride[.]press

        liesofwallstreet.com[@]gmail.com             liesofwallstreet[.]io

        50statesoflie.com[@]gmail.com                50statesoflie[.]media

        ukrlm.info[@]gmail.com                       ukrlm[.]info

        meisteruiancom[@]gmail.com                   meisterurian[.]io

        Acrosstheline.press[@]gmail.com              acrosstheline[.]press

        Electionwatch.live[@]gmail.com               electionwatch[.]io


                                              54
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         Honeymoney.infonow[@]gmail.com                         honeymoney.press

         Uschina.press.now[@]gmail.com                          uschina[.]online

         Spicyconspiracy.info[@]gmail.com                       spicyconspiracy[.]io

         Levinaigre.net[@]gmail.com                             levinaigre[.]net



             2.       The Goodbye Persona Leased the Acrosstheline[.]press, ukrlm[.]info, and
       mypride[.]press Domains Linked to the Demon Account

        121.     Two     Proton      Mail     email        accounts,   Aurevourmail[@]proton.me           and

Buenasnochesmail[@]proton.me, (collectively, the “Goodbye persona”), leased domains from

Namecheap for use in the Doppelganger campaign, including acrosstheline[.]press, 66

ukrlm[.]info, 67 and mypride[.]press. 68 Given that these Proton Mail addresses included

derivations of a phrase roughly translated into two languages: Au Revoir and Buenas Noches, I

assess that the Namecheap accounts were created using operational email addresses by ANO

Dialog employees or agents acting on their behalf and will refer to them collectively as the

Goodbye persona.

        122.     Records received from Namecheap pursuant to legal process revealed that the

Goodbye persona leased acrosstheline[.]press, ukrlm[.]info, and mypride[.]press using the

77.25 Server and paid for them using a U.S.-based payment provider, called BitPay, which allows




66
  Across the Line presents itself as a website focused on migration and forced displacement issues, often
presenting only an adverse perspective as it relates to the U.S. Its website footer notes, “Join us in tackling
the problems of refugees across the globe and at the US border. Let’s cross the line to support those who
didn’t ask to leave their homes and face uncertainty.”
67
  UKRLM is an English language website that describes itself as “Bringing you the latest updates, analysis,
and insights from war-torn Ukraine. Stay informed on the ongoing Russia-Ukraine conflict with us.”
68
   My Pride Press is an English language website that focuses on the LGBTQ community, with topics
including trans youth, athletes, health, woke wars, LGBT.

                                                      55
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users to make payments via Bitcoin. Records received pursuant to legal process from Namecheap

and BitPay revealed the following:

          a. On February 27, 2023, the Goodbye persona, using the 77.25 Server, sent 0.002612

              BTC, equivalent to $60.46, from a Bitcoin address ending in -MiP6T to

              Namecheap. The same day, Namecheap credited the Goodbye persona account with

              $60.00 and the account used $53.12 to lease acrosstheline[.]press, ukrlm[.]info,

              and mypride[.]press which included a $38.64 monthly subscription for EasyWP, a

              Namecheap product for managing websites.

          b. On March 21, 2023, the Goodbye persona, using the 77.25 Server, sent 0.001486

              BTC, equivalent to $40.84, from a Bitcoin address ending in -JPrHF to Namecheap.

              The same day, Namecheap credited the Goodbye persona account with $40.00,

              which prevented the previously mentioned subscription from overdrawing the

              account.

          c. On April 20, 2023, the Goodbye persona, using the 77.25 Server, sent 0.003881

              BTC, equivalent to $110.62, from a Bitcoin address ending in -mhtcF to

              Namecheap. The same day, Namecheap credited the Goodbye persona account with

              $110.00, which prevented the previously mentioned subscription from overdrawing

              the account.

          d. On July 23, 2023, the Goodbye persona, using a German IP address that Spur has

              linked to a cybercriminal network, sent 0.006791 BTC, equivalent to $202.51, from

              a Bitcoin address ending in -Z2my to Namecheap. The same day, Namecheap

              credited the Goodbye persona account with $200.00, which prevented the

              previously mentioned subscription from overdrawing the account.



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              e. On December 15, 2023, the Goodbye persona, using a German IP address that Spur

                  has linked to a cybercriminal network, sent 0.002147 BTC, equivalent to $89.99,

                  from a Bitcoin address ending in – qpwW to Namecheap. The same day,

                  Namecheap credited the Goodbye persona account with $70.00, which prevented

                  the previously mentioned subscription from overdrawing the account.

              f. On July 23, 2023, the Goodbye persona, using a German IP address that Spur has

                  linked to a cybercriminal network, sent 0.004861 BTC, equivalent to $206.86, from

                  a Bitcoin address ending in -Z2my to Namecheap. The same day, Namecheap

                  credited the Goodbye persona account with $205.00 and the account used $89.48

                  to renew their lease of acrosstheline[.]press, ukrlm[.]info, and mypride[.]press.

          123.    Based on these BitPay transactions, the IP addresses, and my training and

experience, there is probable cause to believe the funds used to lease these three SUBJECT

DOMAINS originated from outside the United States.

                3.      The Levinaigrenet Persona Leased the Levinaigre[.]net,                         and
         Meisterurian[.]io Domains Linked to the Demon Account and Warfareinsider[.]us.

          124.    Records received from Namecheap pursuant to legal process revealed that a user

with the email address levinaigrenet[@]proton.me leased levinaigre[.]net, 69 meisterurian[.]io, 70

and warfareinsider[.]us. 71 The Levinaigrenet persona provided Namecheap with a name of Jay

Rom and a Broken Bow, Nebraska mailing address. All payments were made using funds

transferred from BitPay. Law enforcement records checks reveal no association between a Jay



69
     Levinaigre is a French language website that focuses on French scandals.
70
     Meisterurian is a German language website that purports to publish German news stories.
71
  Warfareinsider is an English language website that describes itself as reporting on “Latest military news.
Stay sharp to look at it from the different perspective.”

                                                     57
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Rom and the physical mailing address in Nebraska provided to Namecheap. In addition, despite

indicating a U.S. mailing address, on June 16, 2023, the Levinaigrenet persona accessed

Namecheap via the 77.25 Server and, using BitPay, deposited $72.00. On June 19, 2023, the

Levinaigrenet persona used the 77.25 Server to access Namecheap and used $25.04 to lease

levinaigre[.]net and purchase a monthly subscription of EasyWP. Then, on July 5, 2023, the

Levinaigrenet persona accessed Namecheap via a French IP address that Spur linked to a

cybercriminal network and, using BitPay, deposited $120.00. The same day the Levinaigrenet

persona used $70.22 to lease warfareinsider[.]us and meisterurian[.]io and purchase monthly

subscriptions of EasyWP for both. On June 4, 2024, the Levinaigrenet persona accessed

Namecheap via the 76.173 Server. and, using BitPay, deposited $200.00. The same day the account

used $10.48 to renew the lease for warfareinsider[.]us and meisterurian[.]io.

          125.    As discussed below, on both June 16 and 19, 2023, another Doppelganger linked

Namecheap account also used the 77.25 Server to access their Namecheap account. Accordingly,

although the Levinaigrenet persona provided Namecheap with a U.S. address, I assess that the

individual accessing and paying for the account is actually located overseas.

                4.       The Holylandherald Persona Leased the Holylandherald[.]com Domain
         Linked to the Demon Account and Grenzezank[.]com, and Lexomnium[.]com

          126.    Records received from Namecheap pursuant to legal process revealed that a user

with the email address holylandheraldcom[@]proton.me leased holylandherald[.]com, 72

grenzezank[.]com, 73 and lexomnium[.]com. 74 The Holylandherald persona provided Namecheap

72
  Holyland Herald poses as an Israeli based English language news website focused on Israel-US relations,
the war in Gaza, and other Middle East issues, however it also posted articles related to Ukraine, such as
an article titled “Ukraine Interferes in Russian Presidential Elections.”
73
     Grenzezank is a German language website that focuses on international news, including U.S. politics.
74
  Lex omnium, which translates to The Law of All in Latin, is a French language website that appears to
focus on French news with a legal perspective.

                                                      58
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with a first name of holyland, a last name of herald, and a mailing address in Kansas City, Missouri

that indicated the country of residence to be Germany. All payments for the domains were made

using funds transferred from BitPay.

       127.    Specifically, on June 16, 2023, the Holylandherald persona accessed Namecheap

via the 77.25 Server and, using BitPay, deposited $65.00. On June 19, 2023, the Holylandherald

persona accessed their Namecheap account using the 77.25 Server and used $22.64 to lease

holylandherald[.]com and purchase a monthly subscription of EasyWP. As referenced above,

records received from Namecheap revealed that the account used to lease Levinaigre[.]net,

meisterurian[.]io, and warfareinsider[.]us accessed Namecheap from the same server at

approximately the same time. On April 16, 2024, the Holylandherald persona accessed Namecheap

via a U.S. IP address that Spur has linked to a cybercriminal network and, using BitPay, deposited

$104.00. On May 20, 2024, Namecheap charged the account $16.06 to renew the lease for

holylandherald[.]com.

       128.    On July 5, 2023, the Holylandherald account accessed Namecheap via a German

IP address that Spur has linked to a cybercriminal network and, using BitPay, deposited $120.00.

The same day the account used $45.28 to lease grenzezank[.]com and lexomnium[.]com and

purchase monthly subscriptions of EasyWP for both. On May 31, 2024, the account accessed

Namecheap via the 76.173 Server. and, using BitPay, deposited $100.00. The same day the account

used $32.12 to renew the lease for grenzezank[.]com and lexomnium[.]com.




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               5.        The RoyGeneral Persona Leased the 50statesoflie[.]media,
         uschina[.]online, and HoneyMoney[.]press Linked to the Demon Account

          129.    As referenced above, the Doppelganger campaign created email addresses with a

naming convention that correspond to 50statesoflie[.]media, 75 honeymoney[.]press, 76and

uschina[.]online. 77 The registrar for all three of those domains was NameSilo and the domains

were leased, from QHoster, a Uruguayan domain reseller, 78 using RoyGeneral[@]proton.me.

Records received pursuant to legal process from NameSilo, revealed that the RoyGeneral persona

created a QHoster account, using a New York, New York address and a Canadian phone number

and leased the 50statesoflie[.]media, uschina[.]online, and honeymoney[.]press. Law

enforcement and open-source records checks indicate the name and home address provided are not

correlated. As referenced above in paragraph 112, the RoyGeneral persona also leased rrn[.]media

and vip-news[.]org but provided an Oregon address and an incomplete U.S. telephone number. At

least one article published on honeymoney[.]press focused on the current U.S. Presidential

administration’s stance on Ukraine. Although the RoyGeneral persona provided NameSilo with a

U.S. address, based on the RoyGeneral’s use of VPSs with Namecheap, links to other

Doppelganger actors, and leasing of rrn[.]media and waronfakes[.]com, I assess that the

individual accessing and paying for the RoyGeneral account is actually located overseas.

          130.    Mandiant, an American cybersecurity firm and a subsidiary of Google, tracks the

“Doppelganger Information Operations Campaign” and publishes a monthly report with updates


75
  50 States of Lie describes itself as “Exposing the scandals that shape American politics and culture. We
bring you the latest on corruption, cover-ups, and controversies in the land of the free.”
76
     Honey Money Press is an English language website that focuses on U.S. consumer trends.
77
  US China Online on issues related to China’s national interest, including U.S.-China relations, Taiwan,
and U.S. trade and foreign policies.
78
   A reseller is a third-party company that offers domain name registration services through a registrar, in
this case NameSilo, a U.S. company.

                                                    60
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to the state of the campaign in a document Mandiant calls a “Narrative Tracker.” In their April

2024 report, Mandiant noted in addition to the continued use of cybersquatted websites, the

Doppelganger campaign had begun using the following domains to target American audiences:

Election Watch (electionwatch[.]live), Spicy Conspiracy (spicyconspiracy[.]info), 50 States of Lie

(50statesoflie[.]com), and Dragonfly Times (uschina[.]press). Of note, records received from

Hostinger pursuant to legal process, showed that the Goodbye persona leased Electionwatch[.]live,

50statesoflie[.]com, and uschina[.]press on February 23, 2023, using cryptocurrency transferred

using CoinGate, a Lithuanian cryptocurrency payment processor.

           131.    As noted above, the Demon Account created email addresses that correspond

directly to spicyconspiracy[.]io 79 and electionwatch[.]io. 80 At present, electionwatch[.]live,

spicyconspiracy[.]info, 50statesoflie[.]com, and uschina[.]press are no longer active. However, I

have reviewed the active domains 50statesoflie[.]media, uschina[.]online, spicyconspiracy[.]io,

and electionwatch[.]io and have confirmed that they use the same branding and formatting as

electionwatch[.]live, spicyconspiracy[.]info, 50statesoflie[.]com, and uschina[.]press, which leads

me to conclude that the same person(s) are behind these domains.

                 6.         The Artichocio persona leased truthgate[.]us, shadowwatch[.]us, 81 and
                         82
          artichoc[.]io,

           132.    Records received from Namecheap revealed that an individual using the email

address artichocio[@]proton.me leased truthgate[.]us, shadowwatch[.]us, and artichoc[.]io, and


79
  Spicy Conspiracy describes itself as “Uncovering the truth behind the veil. Your source for in depth
coverage of conspiracies, secret agendas, and hidden realities.”
80
  Election Watch focuses on U.S. elections, including the 2024 U.S. presidential election, political
candidates, purported corruption, and polling results.
81
  Truth Gate and Shadow Watch are English language websites that focused on disseminating corruption
and conspiracy disinformation targeting the U.S.
82
     Artichoc io is a French language website with a tagline that translates to “Art that Shocks.” It purports to


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provided the name Jason Kant with a French mailing address and a U.S. phone number. The

domains were purchased using Bitcoin transferred through BitPay.

        133.    June 29, 2023, the Artichocio persona used the 77.25 Server to access Namecheap

and deposit $120.00 using BitPay. As discussed above, given the frequent use of the 77.25 Server

by Doppelganger actors, I assess that the 77.25 Server was leased by Doppelganger and only

accessible to persons involved in Doppelganger. The same day, the Artichocio persona used $52.86

to lease artichoc[.]io and purchase a monthly subscription of EasyWP. On April 16, 2024, the

artichocio account accessed Namecheap via a German IP address that Spur has linked to a

cybercriminal network and, using BitPay, deposited $92.00. On May 30, 2024, Namecheap

charged the artichocio account $48.98 to renew the lease for artichoc[.]io.

        134.    On July 5, 2023, the artichocio account accessed Namecheap via a U.S. IP address

resolving to a British VPS service and, using BitPay, deposited $120.00. The same day, the

artichocio account used $34.72 to lease truthgate[.]us and shadowwatch[.]us and purchase

monthly subscriptions of EasyWP for both. On June 18, 2024, the artichocio account accessed

Namecheap from the 76.173 Server and, using BitPay, deposited $220.00. The same day, the

account used $20.96 to renew the lease for truthgate[.]us and shadowwatch[.]us.

               7.       The Ukraine Domains

        135.    As noted above, one of GAMBASHIDZE’s notes from a meeting with the

Presidential Administration referenced a participant as “fully in charge of filling the content on the

Ukraine Tribunal portal.” Two Doppelganger-linked domains, tribunalukraine[.]info, 83 and




focus on pop culture, art, and entertainment.
83
  Tribunal Ukraine is a German language website a focus on revealing the alleged truth about what is
happening in Ukraine.

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ukraine-inc[.]info, 84 were leased from Newfold Digital, a U.S. registrar. Records received from

Newfold Digital revealed that ukraine-inc[.]info was registered on November 3, 2023. Those

records also revealed that the email address trelelcalra1975[@]yahoo.com, was used to lease

ukraine-inc[.]info. The trelelcalra1975[@]yahoo.com was only logged into five times, four times

from German VPSs and once from a Russian IP address. The trelelcalra1975[@]yahoo.com user

registered their Newfold Digital account in the name of Dennis Eggers with a German mailing

address and German phone number. Subscriber records received from Yahoo Inc. revealed that the

trelelcalra1975[@]yahoo.com account was registered using a Cyrillic first name and the last name

Reddy and a Brazilian phone number, which does not match the information provided to Newfold

Digital.

       136.    Records received from Newfold Digital revealed that tribunalukraine[.]info was

registered    on   June   10,   2022.    Those    records    revealed    that   the   email    address

glennwallace9672[@]outlook.com          was    used    to    lease   tribunalukraine[.]info.      The

glennwallace9672[@]outlook.com user registered their Newfold Digital account in the name of

Glen Wallace with a Vienna mailing address and an Austrian phone number. Records received

from Microsoft revealed that glennwallace9672[@]outlook.com was registered by Glenn Wallace

from Austria. Notably, that Outlook account was only logged into twice, September 28, 2022, and

October 5, 2022. According to records received from Newfold Digital, the Newfold Digital

account for tribunalukraine[.]info was accessed from the 11.27 Server.




84
  Ukraine Inc is an English language website that features animated anti-Ukrainian videos. The videos
contain anti-Semitic tropes that depict Ukrainian President Zelensky as an alcoholic and imply that the
deaths of Ukrainians benefit him financially.

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                                    THE SUBJECT DOMAINS

        137.    As described above, the SUBJECT DOMAINS were used by individuals abroad

who are working under the direction and control of the Russian government, and in particular

KIRIYENKO, GAMBASHIDZE, SDA, TUPIKIN, and STRUCTURA, all of whom have been

sanctioned by the U.S. Government, along with ANO Dialog, TABAK, and others, to advance their

interests and the interests of the Russian government and to facilitate the violation of, or in

violation of, the SUBJECT OFFENSES.

        138.    As set forth above and in Attachments A-1 through A-9, a search of publicly

available Who.is domain name registration records revealed the dates that the SUBJECT

DOMAINS were registered, with which registrar, the headquarters of that registrar, the registrant

of each of the SUBJECT DOMAINS, and the top-level domain for each of the SUBJECT

DOMAINS.

                  STATUTORY BASIS FOR SEIZURE AND FORFEITURE

        139.    Title 18, United States Code, Section 981(a)(1)(A) provides, in relevant part, that

any property involved in a transaction or attempted transaction in violation of 18 U.S.C.

§ 1956(a)(2)(A) (international promotional money laundering) and 1956(h) (conspiracy to commit

the same) is subject to civil forfeiture.

        140.    Title 18, United States Code, Section 2323(a)(1)(B), provides, in relevant part, that

any property used, or intended to be used, in any manner or part to commit or facilitate the

commission of Trafficking in Counterfeit Goods or Services (e.g., trademark infringement), in

violation of 18 U.S.C. § 2320, is subject to civil forfeiture to the United States government.




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          141.   Title 18, United States Code, Section 981(b)(2) authorizes seizure of property

subject to civil forfeiture based upon a warrant supported by probable cause and “obtained in the

same manner as provided for a search warrant under the Federal Rules of Criminal Forfeiture.”

          142.   Title 18, United States Code, Section 981(b)(3) permits the issuance of a seizure

warrant by a judicial officer in any district in which a forfeiture action against the property may be

filed and such warrant may be executed in any district in which the property is found, and provides

that the warrant may be executed in any district in which the property is found or transmitted to

the central authority of a foreign state for service in accordance with any treaty or other

international agreement.

          143.   Title 18, United States Code, Section 982(a)(1) provides, in relevant part, that when

imposing sentence on a person convicted of an offense in violation of 18 U.S.C. § 1956(a)(2)(A)

(international promotional money laundering) and 1956(h) (conspiracy to commit the same), a

court shall order that person’s property that was involved in the offense be forfeited to the United

States.

          144.   Title 18, United States Code, Section 2323(b)(1), provides, in relevant part, that the

court, in imposing sentence on a person convicted of Trafficking in Counterfeit Goods or Services

(e.g., trademark infringement), in violation of 18 U.S.C. § 2320, an offense under section 506 of

title 17, or section 2318, 2319, 2319A, 2319B, or 2320, or chapter 90, of this title, shall order, in

addition to any other sentence imposed, that the person forfeit to the United States Government

any property subject to forfeiture under 18 U.S.C. § 2323(a) for that offense.

          145.   Title 18, United States Code, Section 982(b)(1) incorporates by reference the

procedures for seizure and forfeiture in 21 U.S.C. § 853. Title 21, United States Code, Section

853(f) provides in relevant part that a seizure warrant for property subject to forfeiture may be



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sought “in the same manner in which a search warrant may be issued. A court shall issue a criminal

seizure warrant if it determines that the property to be seized would, in the event of a conviction,

be subject to forfeiture and that a restraining order would be inadequate to assure the availability

of the property for forfeiture.”

       146.     Neither a restraining order nor an injunction is sufficient to guarantee the

availability of the SUBJECT DOMAINS for forfeiture. By seizing the SUBJECT DOMAINS and

redirecting them to another website(s), the Government will prevent third parties from acquiring

the name and using it to commit additional crimes. Furthermore, seizure of the SUBJECT

DOMAINS will prevent third parties from continuing to access the SUBJECT DOMAINS in their

present form.

       147.     Title 18, United States Code, Section 2323(a)(1)(B), provides, in relevant part, that

any property used, or intended to be used, in any manner or part, to commit or facilitate the

commission of Trafficking in Counterfeit Goods or Services (e.g., trademark infringement), in

violation of 18 U.S.C. § 2320, is subject to civil forfeiture. Title 18, United States Code, Section

2323(b)(1), provides, in relevant part, that the court, in imposing sentence on a person convicted

of Trafficking in Counterfeit Goods or Services (e.g., trademark infringement), in violation of 18

U.S.C. § 2320, shall order, in addition to any other sentence imposed, that the person forfeit to the

United States Government any property subject to forfeiture under 18 U.S.C. § 2323(a).

       148.     Title 18, United States Code, Section 981(h) provides that venue for civil forfeitures

brought under this section lies in the district either where the defendant owning the property is

located or in the judicial district where the criminal prosecution is brought.




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       149.    Title 18, United States Code, Section 981(b)(3) provides that a seizure warrant may

be issued in any district in which a forfeiture action against the property may be filed under 28

U.S.C. § 1355(b).

       150.    Title 28, United States Code, Section 1355(b)(1)(A), provides that a forfeiture

action or proceeding may be brought in a district court for the district in which any of the acts or

omissions giving rise to the forfeiture occurred.

       151.    Title 21, United States Code, Section 853(l) provides that the district courts of the

United States having jurisdiction to enter orders, including seizure warrants, without regard to the

location of property which may be subject to criminal forfeiture under § 853.

       152.    As set forth above, there is probable cause to believe that the SUBJECT DOMAINS

are subject to civil and criminal forfeiture because they are property involved in in the commission

of violations of 18 U.S.C. § 1956(a)(2)(A) (international promotional money laundering) and

1956(h) (conspiracy to commit same). Specifically, the SUBJECT DOMAINS are property

involved in transactions or attempted transactions that violate 18 U.S.C. § 1956(a)(2)(A)

(international promotional money laundering) and 1956(h) (conspiracy to commit same), done

with the intent to promote the carrying on of specified unlawful activity, specifically violations of

IEEPA. Further, as set forth above, there is probable cause to believe that a subset of the SUBJECT

DOMAINS are subject to civil and criminal forfeiture because they are property that facilitated

the commission of Trafficking in Counterfeit Goods or Services (e.g., trademark infringement), in

violation of 18 U.S.C. § 2320.

       153.    Venue for civil and criminal forfeiture is proper in this district pursuant to 18 U.S.C.

§ 981(b)(3) and (h), 28 U.S.C. § 1355(b)(1)(A), and 21 U.S.C. § 853(l), as set forth above, as the

government has venue to charge the above described international promotional money laundering,



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conspiracy to commit the money laundering, and trafficking in counterfeit goods or services

offenses in the Eastern District of Pennsylvania. In addition, as part of the money laundering

conspiracy to promote violations of IEEPA, the conspirators took steps to make the SUBJECT

DOMAINS available on the internet, including in the Eastern District of Pennsylvania and the

defendants used a subset of the SUBJECT DOMAINS to commit or facilitate the commission of

Trafficking in Counterfeit Goods or Services, including in the Eastern District of Pennsylvania.

                                    SEIZURE PROCEDURE

       154.    As detailed in Attachments A-1 through A-9, upon execution of the seizure warrant,

the registry or registrar for the top-level domain or for each SUBJECT DOMAIN (collectively, the

“PROVIDERS”), shall be directed to restrain and lock the SUBJECT DOMAINS pending transfer

of all right, title, and interest in the SUBJECT DOMAINS to the United States upon completion

of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS cannot be made

absent court order or, if forfeited to the United States, without prior consultation with the Federal

Bureau of Investigation or DOJ.

       155.    In addition, upon seizure of the SUBJECT DOMAINS by the Federal Bureau of

Investigation, the PROVIDERS will be directed to associate the SUBJECT DOMAINS to a new

authoritative name server(s) to be designated by a law enforcement agent. The Government will

display a notice on the website to which the SUBJECT DOMAINS will resolve indicating that the

site has been seized pursuant to a warrant issued by this court.

                                   REQUEST FOR SEALING

       156.    I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the



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                                      ATTACHMENT A-1

With respect to tribunalukraine.info, rrn.media, ukrlm.info, faz.ltd, spiegel.agency,

lemonde.ltd, leparisien.ltd, rbk.media, 50statesoflie.media, meisterurian.io, artichoc.io

(“SUBJECT DOMAINS”), Identity Digital, located at 10500 NE 8th Street, Ste. 750 Bellevue,

WA 98004, who is the domain registry for the SUBJECT DOMAINS, shall take the following

actions to effectuate the seizure of SUBJECT DOMAINS:

   1) Take all reasonable measures to redirect the domain names to substitute servers at the

      direction of the FBI, by associating the SUBJECT DOMAINS to the following

      authoritative name-server(s):

             (a) Ns1.fbi.seized.gov;

             (b) Ns2.fbi.seized.gov; and/or

             (c) Any new authoritative name server or IP address to be designated by a law

                 enforcement agent in writing, including e-mail, to Identity Digital Limited.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

      of all right, title, and interest in SUBJECT DOMAINS to the United States upon

      completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

      cannot be made absent court order or, if forfeited to the United States, without prior

      consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

      Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

      unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-2

With   respect      to   vip-news.org,     acrosstheline.press,   mypride.press,     truthgate.us,

warfareinsider.us, shadowwatch.us (“SUBJECT DOMAINS”), NameCheap, located at 4600

East Washington Street Suite 300 Phoenix, AZ 85034, who is the domain registrar for the

SUBJECT DOMAINS, shall take the following actions to effectuate the seizure of SUBJECT

DOMAINS:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAINS to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to Namecheap.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

       of all right, title, and interest in SUBJECT DOMAINS to the United States upon

       completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

       cannot be made absent court order or, if forfeited to the United States, without prior

       consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

       Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

       unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-3

With respect to pravda-ua.com, waronfakes.com, holylandherald.com, levinaigre.net,

grenzezank.com, lexomnium.com (“SUBJECT DOMAINS”), VeriSign Global Registry

Services, located at 12061 Bluemont Way, Reston, VA 20190, who is the domain registry for the

SUBJECT DOMAINS, shall take the following actions to effectuate the seizure of SUBJECT

DOMAINS:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAINS to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to VeriSign Global Registry

                    Services.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

       of all right, title, and interest in SUBJECT DOMAINS to the United States upon

       completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

       cannot be made absent court order or, if forfeited to the United States, without prior

       consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

       Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

       unreasonable action to frustrate the implementation of this Order.



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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-4

With respect to uschina.online, honeymoney.press (“SUBJECT DOMAINS”), NameSilo,

located at 1300 E Missouri Ave Ste A-110 Phoenix, AZ 85014-2362 who is the domain registrar

for the SUBJECT DOMAINS, shall take the following actions to effectuate the seizure of

SUBJECT DOMAINS:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAINS to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to NameSilo.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

      of all right, title, and interest in SUBJECT DOMAINS to the United States upon

      completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

      cannot be made absent court order or, if forfeited to the United States, without prior

      consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

      Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

      unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-5

With respect to sueddeutsche.co, tagesspiegel.co (“SUBJECT DOMAINS”), GoDaddy.com

LLC., located at 100 S. Mill Ave Suite 1600 Tempe, AZ 85281 USA, who is the domain registrar

for the SUBJECT DOMAINS, shall take the following actions to effectuate the seizure of

SUBJECT DOMAINS:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAINS to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to GoDaddy.com LLC.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

       of all right, title, and interest in SUBJECT DOMAINS to the United States upon

       completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

       cannot be made absent court order or, if forfeited to the United States, without prior

       consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

       Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

       unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-6

With respect to bild.work (“SUBJECT DOMAIN”), GoDaddy Registry Services, LLC, located at

100 S. Mill Ave Suite 1600 Tempe, AZ 85281 USA, who is the domain registry for the SUBJECT

DOMAIN, shall take the following actions to effectuate the seizure of SUBJECT DOMAIN:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAIN to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to GoDaddy Registry Services,

                    LLC.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAIN pending transfer

      of all right, title, and interest in SUBJECT DOMAIN to the United States upon completion

      of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAIN cannot be

      made absent court order or, if forfeited to the United States, without prior consultation with

      FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

      Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

      unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAIN

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-7

With respect to fox-news.top, fox-news.in (“SUBJECT DOMAINS”), Tucows Inc., 10400 NE

4th Street, 5th Floor, Suite 121, Bellevue, Washington 98004 who is the domain registrar for the

SUBJECT DOMAINS, shall take the following actions to effectuate the seizure of SUBJECT

DOMAINS:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAINS to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to Tucows Inc.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAINS pending transfer

       of all right, title, and interest in SUBJECT DOMAINS to the United States upon

       completion of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAINS

       cannot be made absent court order or, if forfeited to the United States, without prior

       consultation with FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

       Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

       unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAINS

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-8

With respect to forward.pw (“SUBJECT DOMAIN”), Micronesia Investment and Development

Corporation, located at P.O. Box 1256 Koror 96940, Palau who is the domain registry for the

SUBJECT DOMAIN, shall take the following actions to effectuate the seizure of SUBJECT

DOMAIN:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAIN to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to Micronesia Investment and

                    Development Corporation.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAIN pending transfer

       of all right, title, and interest in SUBJECT DOMAIN to the United States upon completion

       of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAIN cannot be

       made absent court order or, if forfeited to the United States, without prior consultation with

       FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

       Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

       unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAIN

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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                                       ATTACHMENT A-9

With respect to washingtonpost.pm (“SUBJECT DOMAIN”), Sarek Oy, located at Urho

Kekkosen katu 4E 00100, HELSINKI, Uusimaa Finland, who is the domain registry for the

SUBJECT DOMAIN, shall take the following actions to effectuate the seizure of SUBJECT

DOMAIN:

1) Take all reasonable measures to redirect the domain names to substitute servers at the direction

    of the FBI, by associating the SUBJECT DOMAIN to the following authoritative name-

    server(s):

                 (a) Ns1.fbi.seized.gov;

                 (b) Ns2.fbi.seized.gov; and/or

                 (c) Any new authoritative name server or IP address to be designated by a law

                    enforcement agent in writing, including e-mail, to Sarek Oy.

   2) Prevent any further modification to, or transfer of, SUBJECT DOMAIN pending transfer

      of all right, title, and interest in SUBJECT DOMAIN to the United States upon completion

      of forfeiture proceedings, to ensure that changes to the SUBJECT DOMAIN cannot be

      made absent court order or, if forfeited to the United States, without prior consultation with

      FBI.

   3) Take all reasonable measures to propagate the necessary changes through the Domain

      Name System as quickly as practicable.

   4) Provide reasonable assistance in implementing the Terms of this Order and take no

      unreasonable action to frustrate the implementation of this Order.




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The Government will display a notice on the website to which the SUBJECT DOMAIN

will resolve. That notice will consist of law enforcement emblems and the following text

(or substantially similar text):

        “This domain has been seized by the Federal Bureau of Investigation in

        accordance with a seizure warrant issued pursuant to 18 U.S.C. §§ 981(b),

        982(b)(1), 2323(a)(2), 2323(b)(2), 21 U.S.C. § 853(f) by the United States District

        Court for the Eastern District of Pennsylvania as part of a law enforcement action

        by the Federal Bureau of Investigation.”




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Washingtonpost[.]ltd
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Washingtonpost[.]pm
Case 2:24-mj-01395 Document 4 Filed 09/04/24 Page 93 of 277
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     Fox-news[.]top
Case 2:24-mj-01395 Document 4 Filed 09/04/24 Page 97 of 277
Case 2:24-mj-01395 Document 4 Filed 09/04/24 Page 98 of 277




       Fox-news[.]in
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        Foxnews[.]cx
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        Forward[.]pw
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Abbreviations:

        Primary language             Russian
        Secondary language           English




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Countermeasures by foreign agencies and organizations

The “collective West” countries are seriously concerned by the effectiveness of the project.
Government and private agencies of all four countries—Germany’s Federal Ministry of the
Interior and Community and Federal Foreign Office, France’s General Secretariat for Defence
and National Security, the US Department of State, and Israel’s Security Agency, as well as
major online platforms, factcheckers, and investigators such as META, Microsoft, DesInfoLab,
and others—have been involved in the effort of countering our narratives since September 2022.
Articles about the project and its “destructive impact on public opinion” have been regularly
published by major European and US media outlets.




France’s Ministry for Europe and Foreign Affairs

Statement by Ms. Catherine Colonna—Foreign digital interference—France’s detection of
an information manipulation campaign

June 13, 2023

“The implication of Russian cultural centers and embassies that have actively participated in
spreading content produced by this campaign, including via their institutional accounts on social
media, is further proof of the hybrid strategy that Russia is implementing to undermine the
conditions for peaceful democratic debate, and therefore damage our democratic institutions.”




Blogs.Microsoft.com

Russian influence and cyber operations adapt for long haul and exploit war fatigue

December 7, 2023

“Since July 2023, Russia-aligned influence actors have tricked celebrities into providing video
messages that were then used in pro-Russian propaganda. These videos were then manipulated to
falsely paint Ukrainian President Volodymyr Zelensky as a drug addict.”




                                                2
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The Washington Post

Kremlin runs disinformation campaign to undermine Zelensky, documents show

February 16, 2024

“The Kremlin instruction resulted in thousands of social media posts and hundreds of fabricated
articles, created by troll farms and circulated in Ukraine and across Europe, that tried to exploit
what were then rumored tensions between two Ukrainian leaders.”




Meta

“Adversarial Threat Report”

August 2023

“Launched soon after Russia’s full-scale invasion of Ukraine, Doppleganger created a huge
number of fake websites that spoofed the appearance of mainstream European news outlets, and
then posted links to those sites using fake accounts on many social media platforms, including
Facebook, Instagram, Telegram, X (formerly Twitter), and even LiveJournal, among others.”




Le Parisien

Disinformation, Putin's other war: “The goal is to exacerbate tensions in France”

February 17, 2024

“Fake news about Macron’s assassination in Kiev, fake anti-Zelensky graffiti, Stars of David in
Paris....Russia, where the opposition leader Alexei Navalny has just died, has activated its
operation to destabilize the French society.”




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Clearsky Internet Security

February 22, 2024

Doppelganger NG. Cyberwarfare campaign.

“Russian IW (Information Warfare) aims to shape international perceptions, political discourse,
and policy directions around the world by exploiting social networks, news websites, and
anonymity. Several Kremlin-aligned objectives are being pursued by Russia’s IW efforts,
including influencing US election campaigns, weakening European Union cohesion, and
reducing Western backing for Ukraine.

ClearSky Cyber Security and SentinelLabs have discovered a new wave of Russian information
warfare campaign named Doppelganger NG. Meta exposed the infrastructure of Doppelganger
campaign in 2022, and RecordedFuture research enhanced the findings in 2023. Doppelganger
(meaning “double,” an exact but usually invisible replica) is a global information warfare
campaign publishing false information on hundreds of fake websites and social media channels.

Our research revealed that Doppelganger NG is again fully operational in 2024, utilizing new
infrastructure.”




Spiegel

Social media trends expose Russian deceitful campaign

January 26, 2024

“False tweet is part of pro-Russian disinformation campaign exposed by Baerbock’s Ministry.
Confidential analysis is available in excerpts from MIRROR. Between December 20 and January
20, experts used special software to evaluate Elon Mask’s short-message service X on behalf of
the Federal Foreign Office’s Division 607 for Strategic Communication—with disastrous results.

In the four weeks preceding the beginning of the year, they identified over 50,000 fake user
accounts, which coordinated efforts to shape sentiments among the German-speaking audience
through over a million tweets in German. On some days, experts of the Federal Foreign Office



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registered 200,000 such tweets. This is around two tweets per second—a digital drumbeat
intended to manipulate the public.”




Byline Times

Under the radar: unmasking the coordinated reach of Russian Doppelganger bots

February 29, 2024

“One of Russia’s most widespread tactics is the “Doppelganger bot network,” in which state
actors utilize Doppelganger bots on X/Twitter to disseminate misleading narratives, sow discord,
and influence public opinions globally. Researchers have revealed the scale, methods, and
adaptability of this disinformation campaign, emphasizing its impact on Western democracies.”




General Secretariat for Defence and National Security

Actors associated with Russia use new and old tactics in a bid to influence online discussion
of the NATO Summit

August 21, 2023

“Russia-aligned actors made a comprehensive attempt to influence online discussions
surrounding the NATO Summit in Vilnius in July 2023, using deceptive methods to promote
ideas almost certainly intended to tarnish NATO and the host country of Lithuania. These
included the distribution of documents believed to be stolen from the Lithuanian government, as
well as the spread of false statements on NATO spending and participation in French internal
affairs.”




Meta


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Adversarial Threat Report

August 2023

“We assess that we are witnessing the largest and most aggressive covert influence operation
from Russia since 2017.”




Wired

Russia is boosting calls for ‘Civil war’ over Texas border crisis

February 7, 2024

“While previous Doppelganger campaigns shared links to fake websites designed to look like
legitimate ones but with fake articles, this campaign linked to websites run, built, and maintained
by the Doppelganger operatives to push narratives to suit their needs. One article, for example,
appeared on a fake site called Warfare Insider, and stated that Texas ‘has become a battleground
symbolizing the clash between state and federal authorities.’”




Recorded Future

Obfuscation and AI content in the Russian influence network Doppelganger signals
evolving tactics

December 5, 2023

“In subsequent campaigns targeting US and German audiences, Doppelganger created six
original but inauthentic news outlets producing malign content. The US-focused campaign aimed
to exploit societal and political divisions ahead of the 2024 US election, fueling anti-LGBTQ+
sentiment, criticizing US military competence, and amplifying political divisions around US
support for Ukraine. The German-focused campaign highlighted Germany’s economic and social
issues, intending to weaken confidence in German leadership and reinforce nationalist sentiment.

Doppelganger's adaptability exemplifies the enduring nature of Russian information warfare,
with a strategic focus on gradually shifting public opinion and behavior. The use of generative
AI for content creation signifies an evolution in tactics, reflecting the broader trend of leveraging
AI in information warfare campaigns. As the popularity of generative AI grows, malign


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influence actors like Doppelganger are very likely to increasingly employ AI for scalable
influence content.”




Berliner Morgenpost

Why are pro-Russian fake websites so tenacious

August 29, 2023

“Federal Ministry of the Interior and Community stated that the Russian disinformation is still
significant and that it treats foreign influence and manipulations very seriously.

Authorities showed concern about fake websites from the moment the campaign was exposed,
informing DPA a year ago, at the end of August 2022. Reports demonstrate “the scale of pro-
Russian propaganda and disinformation in Germany.” According to the press-secretary, they
aimed to undermine trust in politics, society, and government institutions. “




Le Monde

Doppelganger: Russian disinformation campaign denounced by France

June 13, 2023

“This very well-imitated page is, in fact, the tip of a vast Russian influence operation, which has
been going on for over a year. The agents who created and circulated this fake French Ministry
for Europe and Foreign Affairs page are also responsible for countless imitations of media
articles, perfectly imitating the layouts of Le Monde and other newspapers, such as Le Parisien
and 20 Minutes, as well as most of the major German media. Similar fakes have also been seen
in Ukraine, Italy, and the United Kingdom.”




Medium

Russia-based Facebook operation targeted Europe with anti-Ukrainian messages



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September 27, 2022

“The Russian network targeted Germany and Latvia with narratives about impending hardships
resulting from sanctions targeting Russian energy supplies. In France and Italy, the network
targeted Facebook with posts that called for an end to weapons shipments to Ukraine. The timing
and narratives of the posts coincided with policy decisions made by the targeted countries pages
regarding the war in Ukraine.

The network displays the hallmarks of influence operations previously documented by the
DFRLab, in which Russia or its proxies weaponize platforms to amplify pro-Kremlin interests
while denigrating Ukraine and the West. It is accomplished with a wide range of techniques
previously observed by the DFRLab, including paid promotion of content, the use of automation,
coordinated narratives, and other indicators.”




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Abbreviations:
        [PH]                                   Phonetic



Work with Comments
Accompa nying Reference

To a mplify the impa ct of the Project's key informa tion vectors on the a udience in the
ta rget countries , we believe it a dvis a ble to launch a s ys tem for dis s emina ting
comments on s ocia l media pla tforms .

To opera te the comments s ys tem, we a re planning to prepa re a media ma p to rea ch the
releva nt ta rget a udiences : popula r communities with a focus on politics a nd economics
a nd pers ona l accounts of influencers . The opera tives will comment on pos ts on beha lf
of the bots a ccording to the media ma p. The comments (texts / ima ges / links ) will
promote the Project's ma in na rra tives a nd evoke in the a udience ra tiona l (s uch a s ,
"rea lly, why do WE need to help Ukra ine?") and emotiona l (s uch a s , "America ns a re s uch
s cumba gs !") rea ctions .

The following will be used as content:

●       Links to high-impa ct, vira l, or explos ive s ocial media s ta tements by well-known
        influencers a nd bloggers who ha ve thous a nds of followers (ba s ed on s ocia l
        media monitoring);
●       Links to online media a rticles (bas ed on online media monitoring);
●       Memes a nd ca rtoons crea ted by the Project's tea m; a nd
●       Brief pos ts conta ining interpreta tions / ta kes , a ccording to the es ta blis hed TL
[PH].

Important: us ing the propos ed tool for s ha ring links to our own res ources (RRN, media
s wa rm, mirrors ) is ineffective: s ocia l network a lgorithms view ma s s pos ting of links to
s ites with a low cita tion index a s s pa m, which lea ds to blocking a nd deletion of
comments a nd compromis es the res ources .

In a ddition to the regula r work with comments , we could implement s pecia l projects , i.e.
a tta ck opponents or s upport a s s ocia tes with comment ca mpaigns .

The work with comments will help enha nce the a wa renes s of the Project's na rra tives
a mong a s ignifica nt pa rt of the active s ocial media us ers interes ted in politics a nd
economics .




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The Project's Key Performance Indicators:

●      1,000 com ments per da y per country;
●      30,000 comments per month per country;
●      60,000 comments per month for Fra nce a nd Germa ny combined.




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Center S. Comprehensive support for informational and
political influence


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Description
The project of comprehensive support for informational and political influence on public
opinion of the population of Ukraine in 2024 includes work in four main areas:

   ● monitoring;

   ● analytics;

   ● content production;

   ● content delivery:

Purpose:

   ● To shape public opinion in Ukraine, favorable for achieving the goals and objectives
     of the Special Military Operation, as well as future bilateral relations between Russia
     and Ukraine.

Objectives:

   ● wide-ranging and continuous monitoring of the information space of Ukraine;

   ● analytical support for project teams working with Ukrainian audience;

   ● timely recognition and suppression of anti-Russian narratives, created in the Ukrainian
     information space, preempting of the adversary's informational and political
     operations;

   ● development and implementation of integrated informational and political operations;

   ● ensuring the continuous production of up-to-date multi-format content;

   ● delivery of content to the citizens of Ukraine using various communication channels;

   ● control of quantitative and qualitative indicators of content delivery, collection and
     analysis of audience reaction.




General main subject areas:




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K1 - undermining military and political leadership

K2 -discord among the elites;

K3 - loss of morale in the Ukrainian Armed Forces;

K4 - sowing discord in the population;




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2. Monitoring-analytical products

Overview of information field - Globe of Ukraine dashboard
Monitoring & Analytics


The dashboard under the working title of "Globe of Ukraine" is a document in the form of a
graphically designed "dashboard", which in a format convenient for visual perception,
presents a picture of the information space of Ukraine over the past week. The dashboard
contains quantitative and qualitative indicators, covering the results of media monitoring
(including foreign and regional), telegram channels, and social media networks. The
following data can be gleaned from it:

   ● the main narratives and stories of the Ukrainian government media, the degree and
     pattern of their distribution;
   ● the most comprehensive and resonant stories discussed in social networks (patterns);
   ● convergence of stories in the media and social media networks, the "life cycle" of
     individual newsbreaks;
   ● The infiltration of Western newsbreaks into the Ukrainian information space;
   ● The infiltration of Russian newsbreaks into the Ukrainian information space;
   ● dissemination of the project's narratives and messages in the Ukrainian information
     space;
   ● other data


Format:
1. The document is in the form of a graphically designed "dashboard", which in a format
convenient for visual perception, presents a picture of the information space of Ukraine over
the past week. The most convenient print format - A3

2. Analytical report with the interpretation of dashboard data.

Frequency: weekly




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Analysis of Western think tanks
Monitoring & Analytics


A report based on the analysis of materials from Western think tanks (analytical centers) on
Ukrainian conflict. The analysis is accompanied by recommendations for adjusting influence
effort and creating content based on articles for distribution in the Ukrainian infospace.

Format:
A multi-page document that contains:

   ● an overview of the findings of Western think tanks focusing on the current conflict;
   ● identification of stakeholders in the implementation of the recommendations proposed
     by these think tanks;
   ● assessment of the probability of implementation of certain scenarios ("sets of
     recommendations");
   ● assessment of the possible consequences of the implementation of certain scenarios;
   ● their own recommendations on scenarios proposed by Western think tanks, including
     recommendations for content creation.

Frequency and volume: Once biweekly (2 units per month)




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Development of comprehensive strategic influence efforts
Monitoring and analytics


Development of comprehensive strategic influence efforts, designed to be long-term,
includes the development of operational goals and objectives, the definition of methods and
stages for achieving goals, analytical, forecast and political technology parts, content
procurement for all agents of information and psychological influence, including official
media, influencers, government and municipal institutions.

IMPORTANT! The development and implementation of an influence effort operation
requires the participation of not only all teams involved in Center S, but also a robust
interdepartmental interaction. The team of authors of this document, in addition to direct
participation in the development of the document, is ready to coordinate the interaction of all
participants in the process, monitor the effectiveness of the operation and adjust plans.

Particular attention should be paid to ensuring the secrecy of work performed.

Format:
A multi-page document, templates of narrative lines, content, instructions.

Frequency and volume: Once in 3 months (varies depending on the changing military and
political situation).




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"Sleeper" regional groups in social media networks
Content Delivery




The most popular social media networks in Ukraine are Facebook and X (Twitter) and
Telegram. The administrators of these social media networks (except Telegram) have a pro-
Ukrainian position and subject communities promoting pro-Russian narratives to strict
moderation rules. The promotion of the pro-Russian agenda in the Ukrainian segment of
social media networks is also complicated by the aggravated rejection by the majority of the
audience of any messages and statements in favor of the "aggressor country" during the
conflict.

In this regard, the proposal is to create and develop a network of communities positioning
themselves as Ukrainian regional news groups for a long term (at least 4 months).

In such a “dormant“ state, communities gain an audience with the help of targeted
advertising, seeding and organic reach. At the right moment, having "gained weight",
communities become a point of entry and a channel of information dissemination,
favorable to the Russian side and they become channels for influencing the local
audience in Ukraine.

The most famous recent example of a community working on the basis of this technology is
the anti-Russian Morning Dagestan Telegram channel, which provoked riots at the
Makhachkala airport on October 29, 2023. The network of "sleeper" communities will also
be in demand after the end of the Special Military Operation.

Product format:
1) communities in social media networks - Facebook, X (Twitter), Telegram channels.
2) daily news and entertainment publications;
3) targeted advertising of communities and advertising seeding in other groups.

Frequency and volume: daily work on filling and advertising communities. One community
in each of the three social networks in all 20 regions of Ukraine - a total of 60 communities.

The target minimum indicator of the "live" audience of at least one community in each
region in 4 months is 4,000 subscribers, the total audience is 100,000 subscribers with
subsequent growth of 10-20% per month.

Project implementation period: starting from 4 months.




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Vzglyad na Ukrainu [Look at Ukraine] Portal
Content delivery


The proposal is to create and promote an aggregator website of news and opinions of
influencers about the Ukrainian socio-political situation. Most of the materials will contain
pessimistic forecasts, criticism of the military-political leadership of Ukraine and a
description of corruption, crime and deteriorating living standards.

90% of the portal's materials will be reprints of Ukrainian influencers and the media,
broadcasting the narratives we need. Also, 1-2 original materials (long reads) will be drafted
daily for the site. For each influencer, whose materials will be posted on the site, a separate
subsection and its personal design are to be created, thus creating the impression for the
audience that the publication was written by him/her specifically for the project.

Due to the constant mention of the names of influencers and links to their websites, blogs,
TG channels, search engine indexing mechanisms will begin to issue links to the site on the
subject of the spectrum of "problems of Ukraine" on the first pages in three months.


Product format:
1) website;
2) original materials- long reads;
3) targeted advertising and advertising seeding in social media networks.

Frequency and volume: placement on the portal of about 50 materials daily, of which 1-2
are original texts.

Project’s Key Performance Indicators (KPIs) in 6 months:

   ● more than 8,000 posted materials;
   ● daily audience of more than 30,000 readers;
   ● more than 25,000,000 views.

Project KPIs in 1 year:

   ● more than 20,000 posted materials;
   ● daily audience of more than 100,000 readers;
   ● more than 100,000,000 views.


Project implementation period: starting from 6 months.




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Targeted advertising
Content delivery


Targeted advertising on the Facebook social network is aimed at delivery of messages,
tailored to the target audience of the material.

The target audience of each material is selected individually and depends on which of the
population groups this material can cause the greatest psychological damage. The target
audience can be ranked by geography, demographics, hobbies and interests, etc.

Targeted advertising on the Facebook social media network allows to track user reactions to
the disseminated material in real time, send a psychological response group to comments on
the distributed materials, which, with the help of a network of bots, moderates top discussions,
and adjusts further launches based on which audience group suffered the greatest damage.

Also, based on the analysis of advertising launches, it is possible to draft reaction maps by
analyzing user comments, their ranking and topics that caused them the greatest emotional
response. This makes it possible to draft flexible maps of reactions, the basis for which are
general main subject areas and an ever-changing agenda within the framework of their
semantic content.

Product format:
1) posts, images, infographics,
2) advertising releases of the Facebook social media network.

Frequency and volume: daily. 1,000,000 releases per month (ERR - 10%).




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The Telegram channels network
Content delivery


To increase influence on the domestic political agenda of Ukraine, the creation of the
network of Telegram channels is proposed, in conjunction with Twitter and
Facebook/Instagram presence with the most localized content and ideology that are not
affiliated with Russian performers and Russian-language content. The use of Telegram
channels specifically as the engine of the project is due to the fact that over the past year,
the Ukrainian Telegram audience has grown by 600%. At the same time, it should be
remembered that the enemy segment of local popular channels did not start with political
topics, but with entertainment, 5 years ago the share of political channels in Ukraine was
negligible. And the similar leap forward can be replicated, but in our favor.

The proposal is to create a network of 20 thematic target channels and 10 auxiliary channels
necessary to promote and maintain the pace of recruitment of the project's audience. This
approach will allow to quickly develop the number of subscribers to noticeable volume due to
cross-reposts and the creation of a versatile core of the audience. Also, this approach will
allow to quickly adapt the project to the constantly changing agenda by adding new channels
with relevant topics and quickly recruiting their audience by supporting the entire network.

In the preparation of loading the content of channels, especially initially (one or two
months), it is necessary to completely get away from propaganda, both nationalist Ukrainian
and pro-Russian, to forego clichés and to influence the opinion utilizing the sequence in
which information is presented. To quickly engage in trends on Twitter, it will be necessary
to quickly create posts with popular topics through hashtags, an individual narrative style
and interaction with influencers.


Product format:
1) 20 thematic target and 10 auxiliary channels in Telegram;

2) duplicate communities on social media networks - X (Twitter) and Facebook;

3) from 2 to 4 publications in each channel daily;

4) targeted advertising and seeding.

Frequency and volume: daily up to 4 publications in each channel.

Project’s KPI: The forecast of the total growth of the project's audience is 20,000 subscribers
per month.




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Comments - delivery to regions
Content delivery


Based on the analysis of commentary trends in the regional communities of Ukraine, the
proposal is to organize the targeted distribution of the creative content of the Delivery to the
Regions project in the comments to posts in regional communities and in blogs of regional
influencers.

   ● For each region, a media map is created, consisting of 50 communities that reliably
     have an audience tied to a specific area: particular city public forums, personal
     pages of the regional leadership, forums of interest, such as sports, cars, hobbies,
     etc.
   ● For each creative content, a lead-in commentary is developed, which has
     characteristics specific to this particular region. This approach will increase the
     credibility of the creative content and increase the level of audience engagement.
   ● Creative content, along with a lead-in comment, are distributed in comments to posts
     in the community using a network of bot accounts.

Product format:
1) comments in the regional communities of Ukraine;
2) images, memes, and other creative content

Frequency and volume: 50,000 comments in 20 regions of Ukraine per month.

Project KPIs: coverage of 10,000,000 encounters per month, ERR — 4%.




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Guerrilla Media Campaign in the United States

lllntroduction
The information situation in the United States differs dramatically from that in all other
Western countries. The key to this situation is the high level of polarization of American
society which is split between supporters of the                     and U.S. Political Part
i  parties. We believe that supporters of the                       are left-wing and far-left
globalists who advocate for perversion of traditional moral and religious values, while
supporters of the                           are normal people whose priority is to preserve
traditions of the American way of life. It is important that "                     ' are also
people of color and supporters of "affirmative action" and "reverse discrimination", i.e.
infringement on the rights of the white population of the United States, while " U.S. Political
j:QnWA" are the victims of discrimination by people of color.            j

Moreover, although the Candidate B is an appointee of the most numerous and influential
group in the leadership of the                     , he currently enjoys the approval of less
than 40% of citizens of the US. It is also important that                likely rival in the next
election,             , is popular among the                          , primarily poor whites.
However, he is not popular with the leadership of the U S. Political Part

None of the significant American politicians, including those significantly opposed to the
incumbent president, can be considered pro-Russian or pro-Putin. However, there is a
widespread opinion among                            that            and his government are
spending too much money on foreign policy, on confrontation with Russia and on "Lend­
Lease" to Ukraine. This is at the time when the United States is suffering from rising prices,
primarily for gasoline, historically high inflation and the actual impoverishment of white
taxpayers, a significant part of the middle class. Under these circumstances, the recipients
of public assistance, unemployed people of color and residents of large cities end up being
privileged groups of the population.

A key characteristic of the American media is its skew towards the U.S. Political Party B
influence. While society is split between supporters of the "new globalist socialism" and
supporters of traditional values, between a donkey and an elephant is roughly equal, the
media is " U.S Political Part B " by over 75%. The situation for U.S. Political Part    is
made complicated by the censorship on social media and U.S. Political Part B oriented
"new media".



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The Comprehensive Information Outreach Project in
Israel (and also Jewish Community Outreach in the
US)
Project


The Project includes
   ● Online media

   ● Work with Israeli influencers

   ● Creating forums in Twitter, Facebook, Instagram, Yandex-zen

   ● YouTube Channels

   ● Telegram Channels

   ● Comments in social media

   ● Targeted advertising in social media



The Project Goals:
At present, the situation in the state of Israel seems very favorable for launching a major
project aimed at influencing public opinion. The goal of such influence is to rip Israel out of
the general Western anti-Russian agenda and to create a sustainable public opinion
which would deem neo-Nazism and dictatorship in Ukraine, rendering aid to neo-
Nazis, and, therefore, the escalation of the conflict by the West and helping anti-Russian
political emigration unacceptable.

Under current circumstances, these goals could be achieved in a relatively short term,
relying on forces that in fact exist within the country as well as in the Jewish diaspora in the
United States.

Based on this, the key indicator of the effectiveness of the project will be an increase in the
number of Israeli citizens supporting Russia in the fight against Nazism.

The following thematic directions will be reflected within the framework of the Project:




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     ● Nazism in modern Ukraine and sowing of fear from its across Europe and the world.
       Truth about the conflict in Ukraine;

     ● Parallels between Russia and Israel in how they handle the threat to its territorial
       integrity and national security;

     ● Stirring up interest to the US presidential campaign: stakes, rumors, forecasts;

     ● Facts unmasking Russian opposition members overseas (scandalous statements
       against Israel, religion, Jewish traditions, and bribing authorities)

 In addition to the main goal, the Project will be directed at achieving the secondary goal, that
 is, to ensure background support and consensus related to legitimizing the election of RF
 President in 2024 in Israeli public opinion.

 Analysis of Political Situation in Israel. Public Opinion Factor
 The public opinion of Israelis and American Jews has been strictly polarized. The election
 in the fall of 2022 brought to power a coalition of right-wing and religious parties lead by
 Foreign Official 1 which in turn caused a reaction from the left-wing "democratic" forces
 in the vein of "Maidan" or "colored revolutions". Tens of thousands of people rally "against
FO 1and his reforms" in Tel Aviv and Jerusalem. Speakers at these demonstrations promise
 to reprisals against and murders of Foreign Official 1 supporters. "Democrats" threaten Israel
 with an open civil war. This threat is so serious that has been acknowledged as such by the
 Foreign Official 2                 .

 It's important to note that the "left-wingers" who seek to overthrow the Foreign Official 1
 government and to bring the "Maidan" to the country, in general share views of the
 U.S. Political Party B of the United States and are the target audience of the U.S. Political Party B .
 That means that one of the important points in their political agenda is expanding aid to
 Ukraine against Russia up to military supplies (Israel has been currently supplying only
 "humanitarian" aid to Ukraine). The left-wingers demand, in addition to other things, that
 Israel expend refugee admission from Ukraine (including the ones without a confirmed
 Jewish origin), and provides the Ukrainian refugees with living accommodations and
 employment, as well as expands financial aid to Ukrainians. The left-wingers also support
 the so-called “Great Aliyah”, i.e. mass emigration of liberally minded Jews from Russia.
 Among such "Russian" Jews are celebrities like Russian Celebrities 1, 2 and 3
                 and others. The leftists support their repatriation and anti-Russian political
 activities, despite bribery scandals associated with issuing Israeli documents to some of
 them.

 Unlike the left-wingers, the right-wingers support the current government of Israel, stand up
 for reduction of aid to Ukraine, want the government to focus on internal problems and
 impose more stringent policy on refugees. The right-wingers have been trying to amend “the



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repatriation law” so that grandchildren of Jews could no longer be eligible to immigrate, i.e.
limiting and even terminating the "Great Aliyah" and consequently cessation of accepting
liberal fugitives from Russia. The right-wingers don't want these people to influence Israel
internal policy.

The right-wingers also want better relations with Russia (despite of existing controversies).
           , the current head of Israeli government, is considered a "friend of Putin".
Foreign Official 1



A special attitude towards Russia and the President of Russia in general is characteristic of
the right and moderate in Israel. Thus, for example, the former Prime-Minister of Israel
Foreign Official 3 ’ last interview includes a description of his negotiations with the Russian
President in spring of 2022 and literally overflows with compliments addressed to the
outstanding, perceptive, and wise Russian leader.

It’s obvious that we need to support the legitimate Israeli government against the left-wingers
supported by the U.S. Political Party B .

It is also obvious that the Jewish population of the US is divided with regards to the issues
of Ukraine and Israel, just as the population of Israel itself.

Influencing the public opinion of Israel will impact the public opinion of Jewish voters in the
US prior to the 2024 Presidential Elections.



Project Specifics. Objectives
     1. Organization of comprehensive monitoring:

                 ● Obtaining real-time information on posts and official publications of Israel
                   associated with the list of the Project's topics.

                 ● Compiling, continuous update of media card in social media (influencers, key
                   bloggers)--search of statements and threads within the framework of the
                   Project topics;

                 ● Reporting about key newsworthy events (events, statements by influencers,
                   statements by leaders) within the framework of the Project through prompt
                   notification channel--the Pulse system.

                 ● Gathering data about sociological research published in open source on the
                   Project topics.

     2. Analytical work:

                 ● Developing recommendations on covering newsworthy events;




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            ● Situational analysis of high-profile statements, speeches and events;

            ● Studying sociological research data published in open source and preparing
              analytic conclusions;

            ● Drafting presentations to be delivered at numerous Project events; developing
              lists of topics for seminars and round tables within the framework of the
              Project.

    3. Creating and maintaining online media outlets' network (possible to organize under
       the unified brand "Normal Israel” 1):

            ● News aggregator portal;;

            ● Telegram channels;

            ● Accounts in Twitter, Facebook, Instagram, Zen, YouTube channel.

    4. Work on distribution of the content across the network--targeted advertising.

    5. Media posting (publishing materials on Telegram channels and Israeli media).

    6. Work in the comments, that is, support of topics on the list and attacking opponents.

    7. Content producing company (including with the augmented reality technologies):

            ● Short reads and posts in social media;

            ● Comments;

            ● Long reads;

            ● Videos, including animated;



1
 We propose to create a full-fledged three language right-wing information online project in Hebrew, Russian
and English. The online project will target Jewish communities across the globe, first and foremost in Israel
and the US.

The official ideology of the project should be moderately religious Zionism of Soviet Jews (approximately
matches the ideology platforms of Likud and Religions Zionism parties which are part of the government
coalition.

 An important part of the Project ideology is counter-measures against forgetting Holocaust, or, rather,
reminding, who specifically was eliminating Jews in Ukraine, Belarus, Poland, and Russia, to wit, --these were
Bandera followers, Ukrainian nationalists whose legacy has been promoted by the modern Ukrainian
government.

The legend of the Project—it is done selflessly by caring activists, Israelis, part of them preferring to work
anonymously.



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         ● Memes, pictures;

         ● Cartoons, photoshops.



Team and Scopes of Work
Project Team:

  ● Management--managing the project.

  ● Media monitoring group--daily monitoring.

  ● Social media monitoring--finding headline-making statements by influencers

  ● Analytic group--preparing analytic and social research materials

  ● Creative group—T3 for production, special projects, own newsworthy events (fake
    news)

  ● Production group--pictures, texts, videos.

  ● Group of special correspondents in Israel and media manager.

  ● Translation services.

  ● Distribution group--posting materials and comments in social media.

  ● Reporting group--collection of statistics and user reactions, generating reports.

Scope of work:

  ● Monitoring media outlets and social media--once a day.

  ● Analytical memos based on social studies--once a week

  ● Situational analysis--upon request.

  ● Pulse-Israel channel--prompt notification of events and statements--continuously.

  ● Texts of publications (to the portal / to "mirrors" of the publications)--four a day.

  ● Texts of posts (to the accounts in social media)--20 per day.

  ● Comments--300 a day.

  ● Graphic creative content (memes, caricatures)--three a day.

  ● Videos clips--three per week.


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● Administering channels, accounts and portal--every day, on a continuous basis.




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